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                             EXHIBIT 1
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   Attorneys for Defendant Norwich
   Pharmaceuticals, Inc.

                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
   TAKEDA PHARMACEUTICAL                )
   COMPANY LIMITED, and                 )
   TAKEDA PHARMACEUTICALS               )
                                        )
   U.S.A., INC.
                                        )
                      Plaintiffs,       )      C.A. No. 20-cv-8966-SRC-CLW
                                        )
               v.                       )
                                        )
   NORWICH PHARMACEUTICALS,             )
   INC.                                 )
                                        )
                      Defendant.


    MARK D. HOLLINGSWORTH, PH.D.’S DECLARATION IN SUPPORT
      OF DEFENDANT’S OPENING CLAIM CONSTRUCTION BRIEF
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         I, Mark D. Hollingsworth, Ph.D., hereby declare and state as follows:

         INTRODUCTION

         1.     I have been retained by Norwich Pharmaceuticals, Inc. (“Norwich”),

   in the above matter. I understand that Takeda Pharmaceutical Company Limited

   and Takeda Pharmaceuticals U.S.A., Inc. (“Takeda”) have asserted against

   Norwich U.S. Patent Nos. 7,105,486 (“the ’486 patent”), 7,223,735 (“the ’735

   patent”), 7,655,630 (“the ’630 patent”), 7,659,253 (“the ’253 patent”), 7,659,254

   (“the ’254 patent”), 7,662,787 (“the ’787 patent”), 7,662,788 (“the ’788 patent”),

   7,671,030 (“the ’030 patent”), 7,671,031 (“the ’031 patent”), 7,674,774 (“the ’774

   patent”), 7,678,770 (“the ’770 patent”), 7,678,771 (“the ’771 patent”), 7,687,466

   (“the ’466 patent”), 7,687,467 (“the ’467 patent”), 7,700,561 (“the ’561 patent”),

   7,713,936 (“the ’936 patent”), 7,718,619 (“the ’619 patent”), and 7,723,305 (“the

   ’305 patent”) (collectively, “the Patents-in-Suit”).

         2.     Counsel for Norwich has asked me to provide my opinions on the

   meaning of the terms (1) “L-lysine-d-amphetamine mesylate,” “mesylate salt of L-

   lysine-d-amphetamine,” and “. . . wherein said salt is a mesylate salt” (collectively,

   “the ‘mesylate’ terms”) as recited in the ’486 patent (claim 4), the ’735 patent

   (claim 3), the ’254 patent (claim 3), the ’787 patent (claim 3), the ’788 patent

   (claims 5, 22, 27, 34, 41, 46), the ’030 patent (claims 3, 10, 17, 24, 31, 38),

   the ’031 patent (claims 6, 22), the ’774 patent (claims 3, 10, 17, 24, 31, 38),



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   the ’770 patent (claim 4), the ’771 patent (claims 3, 10, 17), the ’466 patent

   (claim 10), the ’467 patent (claims 3, 10, 17, 24, 31, 38), the ’936 patent (claims 6,

   22, 38, 54), the ’619 patent (claims 3, 10, 17, 24, 31, 38), and the ’305 patent

   (claims 3, 10, 17, 24, 31, 38) and (2) “isolated” in the ’787 patent (claims 1, 2).

         3.     I am being compensated for my time at the rate of $500 per hour.

   Additionally, I am being reimbursed for my expenses incurred in preparing this

   report. My compensation is in no way contingent on the outcome of the case or on

   any of my positions or opinions concerning any issue in the case.

         4.     In forming my opinions, I have reviewed the materials listed in

   Exhibit A.    I reserve the right to amend or supplement this list with any

   inadvertently omitted materials.

         SUMMARY OF OPINIONS
         5.     In my opinion, the “mesylate” terms, when read in light of the

   specification and prosecution history, mean “a salt with any number of mesylate

   ions associated with it.”

         6.     In my opinion, the term “isolated,” when read in light of the

   specification and prosecution history, means “non-salt form.”




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         QUALIFICATIONS

         7.     My curriculum vitae describes my educational background and

   experience, my technical expertise, and my publications. A copy of my curriculum

   vitae is attached as Exhibit B.

         8.     I earned my Ph.D. in organic chemistry from Yale University in 1986.

   My dissertation, which focused on reactions in organic crystals, was awarded

   several honors, including the 1986 Wolfgang Memorial Prize (best chemistry

   dissertation at Yale), the 1987 Nobel Laureate Signature Award for Graduate

   Education in Chemistry from the American Chemical Society (best chemistry

   dissertation in the U.S.), and the Distinguished Dissertation Award from the

   Northeastern Association of Graduate Schools (most distinguished dissertation in

   physical sciences and engineering from 1983-1987 in a consortium of

   approximately 60 graduate schools in the northeastern United States).

         9.     From November 1985 until August 1987, I conducted postdoctoral

   research at the University of Cambridge.       My work focused on solid-state

   photochemistry, emphasizing the structural and dynamic characterization of

   reactive intermediates generated from organic molecules trapped in zeolites and

   organic inclusion compounds.

         10.    After completing my postdoctoral work, I began my independent

   academic career in 1987 as an Assistant Professor in the Chemistry Department at



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   the University of Alberta in Edmonton, Alberta, Canada. From September 1991

   until August 1998, I was an Assistant Professor in the Chemistry Department at

   Indiana University in Bloomington, Indiana. Between 1991 and 1993, I was a

   Fellow of the Alfred P. Sloan Foundation. Currently, I am an Associate Professor

   in the Chemistry Department of Kansas State University in Manhattan, Kansas, a

   position I have held since 1998. In addition, I have been a Visiting Professor in the

   Department of Physics at University of Rennes in France, twelve times between

   2001 and 2018, and I was a Visiting Professor in the Department of Chemistry at

   the University of Bordeaux, also in France, in 2006.

         11.    My research has focused on the following areas: (a) processes to

   obtain organic compounds in the solid state; (b) analytical techniques for

   characterizing organic solids and the processes that occur within them; (c) solid-

   state chemistry (broadly defined as the study of various solid forms of chemical

   compounds); and (d) mechanistic studies of crystal growth and polymorphism.

   Throughout my career, my group members and I have used organic synthesis to

   prepare the compounds that we study in the solid state, including methods such as

   crystallization, filtration, washing, and drying.

         12.    During the course of my work, I have used a variety of techniques to

   analyze the forms of crystalline materials. These include, but are not limited to,

   infrared and Raman spectroscopy, melting point, X-ray diffraction (single crystal



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   and powder), differential scanning calorimetry, thermogravimetric analysis, optical

   microscopy (including birefringence mapping), and solid-state and solution phase

   nuclear magnetic resonance.

         13.    During my academic career, I have taught more than 20 different

   undergraduate and graduate courses. As a professor of organic chemistry, I have

   taught the theory and practice of crystallization of organic compounds in numerous

   undergraduate laboratory courses. In addition, I have taught the section that deals

   with the mechanistic aspects of crystal growth of organic compounds in our

   graduate course in Materials Chemistry. I have supervised the research of 25

   Masters, Ph.D., and postdoctoral students. Much of this research includes the

   study and isolation of particular crystal forms (polymorphs).

         14.    I have published extensively in the field of crystalline organic

   materials in peer-reviewed journals, including articles and book chapters as well as

   meeting presentations dealing with the isolation of new crystal forms, development

   of processes to obtain these forms, characterization of these solid forms, and

   chemical and physical processes that occur in crystalline materials. This list of

   publications includes seven in Science and Nature.

         15.    I have been a peer reviewer for a wide variety of journals, including

   Science, Nature, Nature Chemistry, the Journal of the American Chemical Society,

   Angewandte     Chemie,    Advanced    Functional     Materials,   the   Journal   of



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   Pharmaceutical Sciences, the Journal of Organic Chemistry, Crystal Growth and

   Design, CrystEngComm, Chemistry of Materials, and Molecular Pharmaceutics. I

   have been a guest co-editor for special issues of Molecular Crystals and Liquid

   Crystals, Chemistry of Materials, and Crystal Growth and Design.

         16.   During the previous four years, I have testified as an expert at trial or

   by deposition in the following cases:

      x Bayer Healthcare LLC, Bayer Healthcare Pharmaceuticals Inc., and ONYX

         Pharmaceuticals, Inc. v. Mylan Pharmaceuticals Inc. and Mylan Inc.; U.S.

         District Court Delaware, Case No. 15-114-LPS;

      x AstraZeneca, LP, AstraZeneca AB, AstraZeneca UK Limited, and

         AstraZeneca Pharmaceuticals LP v. Sigmapharm Laboratories, LLC, et al.,

         U.S. District Court Delaware, Case No. 15-1000-RGA (Consolidated);

      x Boehringer Ingelheim Pharmaceuticals, Inc. and Boehringer Ingelheim

         International GMBH v. Sun Pharmaceutical Industries, Ltd. And Sun

         Pharmaceutical Industries, Inc., U.S. District Court New Jersey, Case

         No. 17-8819-MAS-LHG;

      x Forest Laboratories, LLC (f/k/a Forest Laboratories, Inc.), Forest

         Laboratories Holdings Limited, Allergan USA, Inc., and Pierre Fabre

         Medicament S.A.S. v. Aurobindo Pharma USA, Inc. and Aurobindo Pharma

         Limited, MSN Laboratories Private Limited and MSN Pharmaceuticals Inc.,


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         Torrent Pharmaceuticals Limited and Torrent Pharma Inc., Hikma

         Pharmaceuticals USA Inc. and Hikma Pharmaceuticals International

         Limited, and Zydus Pharmaceuticals (USA) Inc., U.S. District Court New

         Jersey, Case No. 2:17-10230-ES-SCM (Consolidated);

      x H. Lundbeck A/S, Takeda Pharmaceutical Co. Ltd, et al. v. Apotex Inc. et al.,

         U.S. District Court Delaware, Case No. 18-088-LPS (Consolidated); and

      x Re: Celgene Corp. v. Breckenridge Pharmaceutical, Inc., et al., U.S. District

         Court New Jersey, Case No. 19-5804.

         LEGAL STANDARDS

         17.    I am not a lawyer. As such, counsel for Norwich has provided me

   with a basic overview of the legal concepts relevant to claim construction.

                Claim Construction
         18.    I understand that for claim construction purposes, the Court will look

   to the meaning a person having ordinary skill in the art (“POSA”) at the time of the

   invention would have ascribed to the disputed claim terms.

         19.    I understand that to determine how the skilled person would have

   understood disputed claim language, courts first look to the “intrinsic evidence,”

   the words of the claims themselves, the patent specification, and the prosecution

   history of the patent and its family members.




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         20.    I understand that courts may also consider “extrinsic evidence,”

   including all evidence external to the patent and prosecution history, such as

   dictionaries and learned treatises, and expert testimony concerning relevant

   scientific principles, the meanings of technical terms, and the state of the art. I

   understand that while courts may rely on extrinsic evidence, it is less significant

   than the patent and prosecution history in determining the meaning of claim

   language. I understand that extrinsic evidence can also be helpful to assist the

   Court in understanding what a skilled person would have known at the time that

   the patent application was filed.

         21.    I understand that the parties dispute the priority dates applicable to

   various claims of the Patents-in-Suit, ranging from May 29, 2003 to August 29,

   2008. For the purposes of this Declaration, my opinions would not change using

   any of the priority dates in this range. Thus, for simplicity, I have been asked to

   conduct my analysis for the “mesylate” terms around or prior to the June 1, 2004

   filing date of Application Nos. 10/857,619 and 10/858,526, to which the ’486,

   ’735, ’254, ’787, ’788, ’030, ’031, ’774, ’770, ’771, ’466, ’467, ’936, ’619, and

   ’305 patents claim priority. I have also been asked to conduct my analysis for the

   “isolated” term around or prior to the May 29, 2003 filing date of Provisional

   Application No. 60/473,929, to which the ’787 patent claims priority.




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                 Person of Ordinary Skill in the Art

         22.     In conducting my analysis, I have considered and applied the

   understanding of a person of ordinary skill in the art (“POSA”).

         23.     In my opinion, with respect to the Patents-in-Suit a POSA would be a

   person who at the relevant time held a Ph.D., or equivalent degree, in a field

   related to pharmaceutical sciences, and at least two years of experience in drug

   discovery and formulation, including in the development of potential drug

   candidates.    The POSA may also have at least two years of experience in

   pharmaceutical formulation, analytical chemistry, pharmacology, pharmaceutics,

   crystallography, and/or the treatment of ADHD or consult with others having a

   Ph.D., Pharm.D., and/or M.D. degree and the requisite experience. I have used this

   definition of a POSA in forming my opinions contained herein.

         24.     I understand that Takeda has proposed defining a POSA as “[a]

   person with an academic degree of Doctor of Philosophy (or equivalent degree) in

   a field related to pharmaceutical sciences with approximately 1 year of relevant

   experience or a person with commensurate experience.” (Joint Claim Construction

   and Prehearing Statement at 7.)

         25.     Takeda’s definition is incomplete at least because it does not account

   for the fact that, in drug discovery and formulation, a POSA would consult with

   others within a particular area of expertise, as needed. Nevertheless, although I do



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   not agree with it, my opinions contained herein would not change using Takeda’s

   definition of a POSA.

         BACKGROUND OF THE TECHNOLOGY

                Chemical Synthesis and Purification

         26.    Broadly speaking, nearly every process used to synthesize a chemical

   compound involves some sort of purification step. After a synthetic procedure,

   purification steps are used to remove contaminants, such as unreacted starting

   materials, other reagents, and side products. Such purification steps are important

   when synthesizing chemical compounds that can be used in pharmaceutical

   formulations because contaminants may be harmful or have unintended

   consequences.

         27.    Those skilled in the art would understand that there are a variety of

   steps that can be carried out to purify a compound.            Common methods of

   purification include distillation, crystallization, extraction, and chromatography.

                Salts
         28.    Salts are chemical species that contain ions (cations and anions) held

   together by attraction between positively charged ions (cations) and negatively

   charged ions (anions).     This attraction is called Coulombic attraction.       Solid

   pharmaceutical salts may, in addition to cations and anions, also include neutral

   molecules of either compound. When salts are dissolved, they generally dissociate

   into their constituent ions. For example, table salt is comprised of sodium cation

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   (Na+) and chloride anion (Cl-). As a solid, the ions bond together to form NaCl.

   When this salt is dissolved, it dissociates into positively charged sodium ions (Na+)

   and negatively charged chlorine ions (Cl-).

          29.    Salts of pharmaceutically active compounds are typically formed by

   reacting the parent or “free” form of the compound with either an acid or a base,

   depending on the properties of the parent. If the parent form of the compound is

   basic, it is reacted with an acid; if it is acidic, it is reacted with a base.

          30.    The ratio of the pharmaceutically active compound to counterions

   (e.g., mesylate) in a salt is often referred to as its stoichiometry. Where the

   components are present in equal amounts, the result is a 1:1 salt (pharmaceutically

   active compound:counterion). Other ratios include 2:1, 3:1, 1:2, 2:3, etc., as well

   as other non-whole number ratios.

                 Solid Forms
          31.    A crystalline solid is a solid form in which the individual molecules or

   atoms are arranged or packed in a regularly repeating pattern with long-range order

   in three-dimensions. In contrast, an amorphous solid form (sometimes called a

   “glass”) has considerable disorder in its structure and lacks the long-range order of

   a crystalline material.

          32.    The smallest repeating unit in a crystalline solid is the “unit cell,”

   which represents the fundamental building block of that crystalline material. Each


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   unit cell is essentially a box with a specific size and shape that contains a particular

   number of molecules in a well-defined arrangement. The unit cell, as well as the

   arrangement of atoms within it, is the defining characteristic of a given crystalline

   form. When the crystalline form is a salt, the unit cell contains a particular number

   of acid and base molecules in a well-defined arrangement.

         33.    The following figure illustrates a unit cell of a crystalline salt of a

   non-pharmaceutical amine. Here, the components that are colored gray, blue, and

   white are the amine components. Those that are colored yellow and red are the

   counterions, whereas those that are colored red and white are water molecules.




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         THE “MESYLATE” TERMS

         34.    It is my understanding that the “mesylate” terms appear in certain

   claims of fifteen of the Patents-in-Suit: the ’486 patent (claim 4); the ’735 patent

   (claim 3); the ’254 patent (claim 3); the ’787 patent (claim 3); the ’788 patent

   (claims 5, 22, 27, 34, 41, 46); the ’030 patent (claims 3, 10, 17, 24, 31, 38);

   the ’031 patent (claims 6, 22); the ’774 patent (claims 3, 10, 17, 24, 31, 38);

   the ’770 patent (claim 4); the ’771 patent (claims 3, 10, 17); the ’466 patent

   (claim 10); the ’467 patent (claims 3, 10, 17, 24, 31, 38); the ’936 patent (claims 6,

   22, 38, 54); the ’619 patent (claims 3, 10, 17, 24, 31, 38); and the ’305 patent

   (claims 3, 10, 17, 24, 31, 38).

         35.    Two of the “mesylate” terms recite the phrase “L-lysine-d-

   amphetamine mesylate.” This phrase appears in the ’735 patent (claim 3) and the

   ’787 patent (claim 3). Claim 3 of the ’787 patent is representative and is set forth

   below:

                3. L-lysine-d-amphetamine mesylate.

         36.    Three of the “mesylate” terms recite the phrase “mesylate salt of L-

   lysine-d-amphetamine.” This phrase appears in the ’486 patent (claim 4), the ’254

   patent (claim 3), and the ’770 patent (claim 4). Claim 4 of the ’486 patent is

   representative and is set forth below:

                4. The method of 3, wherein the salt is a mesylate salt of
                L-lysine-d-amphetamine.


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         37.    The remaining “mesylate” terms recite the phrase “. . . wherein said

   salt is a mesylate salt.” This phrase appears in the ’788 patent (claims 5, 22, 27,

   34, 41, 46), the ’030 patent (claims 3, 10, 17, 24, 31, 38), the ’031 patent (claims 6,

   22), the ’774 patent (claims 3, 10, 17, 24, 31, 38), the ’771 patent (claims 3, 10,

   17), the ’466 patent (claim 10), the ’467 patent (claims 3, 10, 17, 24, 31, 38), the

   ’936 patent (claims 6, 22, 38, 54), the ’619 patent (claims 3, 10, 17, 24, 31, 38),

   and the ’305 patent (claims 3, 10, 17, 24, 31, 38). Claim 3 of the ’030 patent is

   representative and is set forth below:

                3. A composition as defined in claim 2, wherein said salt
                is a mesylate salt.

         38.    I understand that the parties disagree on the meaning of the

   “mesylate” terms. I have been informed that Takeda and Norwich have proposed

   the following meanings for these terms:

   Claim Term     Takeda’s           Proposed         Norwich’s            Proposed
                  Construction                        Construction
   “L-lysine-d-   a    salt  of     L-lysine-d-       “mesylate” / “a mesylate salt”
   amphetamine    amphetamine containing at           means “a salt with any number
   mesylate”      least one CH3SO3- anion,            of mesylate ions associated
   or             which can be obtained from          with it.”
   “mesylate salt methanesulfonic acid
   of L-lysine-d-
   amphetamine” (2S)-2,6-diamino-N-[(1S)-1-
   or             methyl-2-phenylethyl]
   “…     wherein hexanamide
   said salt is a methanesulfonate
   mesylate salt”




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         39.       I have reviewed the ’486, ’735, ’254, ’787, ’788, ’030, ’031, ’774,

   ’770, ’771, ’466, ’467, ’936, ’619, and ’305 patents and their prosecution histories.

   While neither the “mesylate” terms nor the word “mesylate” itself are explicitly

   defined, in my opinion, these materials support Norwich’s proposed construction.

   In my opinion, the meaning of the “mesylate” terms is “a salt with any number of

   mesylate ions associated with it.”

         40.       For the purposes of understanding the “mesylate” terms, the

   specifications of the ’486, ’735, ’254, ’787, ’788, ’030, ’031, ’774, ’770, ’771,

   ’466, ’467, ’936, ’619, and ’305 patents are substantially the same. Therefore, I

   have generally referred to the specification of the ’486 patent unless otherwise

   indicated, although disclosures in the ’486 patent also apply to the other patents

   listed above.

         41.       My understanding of the meaning of the “mesylate” terms is

   informed, in part, by the way in which these patents claim the “mesylate” salts of

   L-lysine-d-amphetamine.         A    POSA      would   understand   that   L-lysine-d-

   amphetamine has the chemical structure below.




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                               L-lysine-d-amphetamine




         42.    Furthermore, a POSA would understand that “mesylate” is the name

   for the anion of methanesulfonic acid, which is depicted below.

                         Methanesulfonic Acid (CH 3 SO 3 H)




         43.    A POSA would understand that L-lysine-d-amphetamine is a basic

   compound due to the amine groups (NH 2 ) in its structure, and therefore could be

   converted to a cation during salt formation (i.e., accept a proton from another

   molecule). 1 A POSA would also understand that methanesulfonic acid is acidic

   due to the sulfonyl group (-SO 3 H) in its structure, and therefore could act as an

   anion in salt formation (i.e., donate a proton (an ionized hydrogen atom) to another

   molecule).


   1
     As discussed more fully below, neutral L-lysine-d-amphetamine may also be
   present in the mesylate salt.


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         44.   Claim 3 of the ’030 patent depends from claim 2, which, in turn,

   depends from claim 1. These claims are set forth below.

               1. A composition comprising an amount of from 25 to
               75 mg of L-lysine-d-amphetamine or a salt thereof
               and having an amphetamine base amount of from
               7.37 to 22.1 mg of said amphetamine, said L-lysine-d-
               amphetamine or a salt thereof providing a mean AUC 0-12
               h (ng h/mL) from 205.4±42.5 to 611.5±104.5, a mean
               AUC last (ng h/mL) from 396.7±84.8 to 1237.0±194.0, a
               mean AUC inf (ng h/mL) from 415.0±80.1 to
               1259.5±191.3, a mean C max (ng/mL) from 25.0±5.6 to
               74.0±12.9, a mean T max (hours) from 3.1±0.876 to
               3.9±1.0, and a mean T 1/2 (hours) from 9.68±1.43 to
               10.3±1.7 of amphetamine when orally administered to a
               human subject.

               2. A composition as defined in claim 1, wherein said L-
               lysine-d-amphetamine is in the form of a salt.

               3. A composition as defined in claim 2, wherein said salt
               is a mesylate salt.

   As indicated above (with added emphasis), claim 1 recites “from 25 to 75 mg of L-

   lysine-d-amphetamine or a salt thereof and having an amphetamine base amount of

   from 7.37 to 22.1 mg of said amphetamine.” Claim 2 narrows the term “L-lysine-

   d-amphetamine” such that it is “in the form of a salt,” and claim 3 further narrows

   the salt such that “said salt is a mesylate salt.” Thus, claim 3 of the ’030 patent

   recites a composition comprising “an amount of from 25 to 75 mg of L-lysine-d-




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   amphetamine [mesylate] and having an amphetamine base amount of from 7.37 to

   22.1 mg of said amphetamine.” 2

         45.    A POSA would understand that the amount of “amphetamine base”

   refers to the amount of amphetamine equivalent to a given amount of L-lysine-d-

   amphetamine. Thus, a POSA would understand that an amphetamine base amount

   from 7.37 to 22.1 mg is equivalent to 14.36 to 43.05 mg L-lysine-d-amphetamine

   (as a free base, i.e., when not in a salt form).3

         46.    Claim 3 also contemplates mesylate salts of L-lysine-d-amphetamine.

   These salts include those having a ratio of mesylate ions to L-lysine-d-

   amphetamine of at least 1:1. For example, a POSA would understand that claim 3

   includes a salt containing 43.05 mg of L-lysine-d-amphetamine (equivalent to 22.1

   mg of amphetamine base) in 75 mg of L-lysine-d-amphetamine mesylate salt, with



   2
     This claim language is also present in the ’030 patent (claim 24), the ’774 patent
   (claims 3, 24), the ’771 patent (claim 3), the ’467 patent (claims 3, 24), the ’619
   patent (claims 3, 24), and the ’305 patent (claims 3, 24). My analysis with respect
   to claim 3 of the ’030 patent also applies to these other claims.
   3
     A POSA would understand that the molecular weight of d-amphetamine is 135.21
   mg/mmol and that the molecular weight of L-lysine-d-amphetamine is 263.3785
   mg/mmol. Thus, (7.37 mg d-amphetamine base)×((263.3785 mg/mmol L-lysine-
   d-amphetamine)/(135.210 mg/mmol d-amphetamine base)) = 14.36 mg L-lysine-d-
   amphetamine. Similarly, (22.1 mg d-amphetamine base)×((263.3785 mg/mmol L-
   lysine-d-amphetamine)/(135.210 mg/mmol d-amphetamine base)) = 43.05 mg L-
   lysine-d-amphetamine.



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   the remaining 31.95 mg attributed to the mesylate component. 4 This salt has a

   ratio of 2:1 mesylate to L-lysine-d-amphetamine, corresponding to the dimesylate

   salt.

           47.   The claims could also encompass a monomesylate salt, which could

   be composed of 43.05 mg of L-lysine-d-amphetamine (equivalent to 22.1 mg

   amphetamine base) and 15.71 mg of mesylate ions for a total of 58.76 mg of L-

   lysine-d-amphetamine mesylate, which is within the claimed range of 25 to 75 mg

   of a pharmaceutically acceptable salt of L-lysine-d-amphetamine. 5

           48.   But a POSA would also understand that claim 3 encompasses L-

   lysine-d-amphetamine mesylate salts that have ratios of mesylate ions to L-lysine-

   d-amphetamine that are less than 1:1. For example, a POSA would understand that

   claim 3 encompasses a salt containing 43.05 mg L-lysine-d-amphetamine and 7.85

   mg mesylate for a total of 50.9 mg L-lysine-d-amphetamine mesylate.            This


   4
    Here, 43.05 mg L-lysine-d-amphetamine is equivalent to 0.16345 mmol, which is
   obtained by dividing the mass by the molecular weight (263.3785 mg/mmol).
   Further, 31.95 mg methanesulfonic acid is equivalent to 0.33245 mmol, which is
   again obtained by dividing the mass by the molecular weight (96.1057 g/mol). A
   POSA would understand that this corresponds to a molar ratio of 2.03:1 (~2:1), i.e.,
   0.33245 mmol methanesulfonic acid/0.16345 mmol L-lysine-d-amphetamine.
   5
     A POSA would understand that the monomesylate salt contains equimolar
   amounts of L-lysine-d-amphetamine and mesylate. As indicated in footnote 4,
   43.05 mg L-lysine-d-amphetamine equals 0.16345 mmol L-lysine-d-amphetamine.
   By the same logic, 15.71 mg of mesylate corresponds to 0.16345 mmol mesylate.



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   corresponds to a mesylate ion to L-lysine-d-amphetamine ratio 0.5:1. 6         And,

   because the amounts of L-lysine-d-amphetamine salt and equivalent amounts of

   amphetamine base are written as ranges, there are numerous other ratios of

   mesylate to L-lysine-d-amphetamine that are possible.

         49.    In view of these disclosures, a POSA would understand that the

   “mesylate” terms were neither restricted to a particular ratio (e.g., 2:1) nor

   restricted to a particular stoichiometry range.    The claims, specifications, and

   prosecution histories do not suggest otherwise. Thus, a POSA would understand

   that the “mesylate” terms means “a salt with any number of mesylate ions

   associated with it.”

         50.    A POSA would also understand that this meaning of “mesylate”

   corresponded to its plain and ordinary meaning, which similarly has no restriction

   to a particular stoichiometry or range thereof. That is, a POSA would understand

   that a “mesylate” salt of L-lysine-d-amphetamine included salts containing all

   possible ratios of mesylate ions to L-lysine-d-amphetamine ions.

         51.    For example, a POSA would understand that a “mesylate” salt of L-

   lysine-d-amphetamine included a 1:1 ratio (monomesylate) and a 2:1 ratio


   6
     By the logic in footnotes 4 and 5, a salt having a ratio of mesylate to L-lysine-d-
   amphetamine of 0.5:1 could be composed of 43.05 mg L-lysine-d-amphetamine
   (0.16345 mmol) and 7.85 mg of methanesulfonic acid (as mesylate ions; 0.08172
   mmol), for a total mass of 50.9 mg L-lysine-d-amphetamine mesylate.


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   (dimesylate). A POSA would understand that these salts could occur, in part,

   because of the crystal packing pattern specific to each salt. Potential examples of

   crystal packing patterns for such crystals are illustrated in the examples below.



                      Potential Monomesylate (1:1) (two examples)




                                 Potential Dimesylate (2:1)




         52.    Similarly, a POSA would understand that a “mesylate” salt of L-

   lysine-d-amphetamine could include other ratios, and that salts with such ratios

   could again occur, in part, because of the crystal packing pattern specific to each

   salt, as illustrated below.


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                             Potential 0.5:1 Ratio (1:2)




                             Potential 1.5:1 Ratio (3:2)




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                            Potential 0.25:1 Ratio (1:4)




                            Potential 0.33:1 Ratio (1:3)




         53.   Furthermore, a POSA would understand that a “mesylate” salt of L-

   lysine-d-amphetamine included other ratios beyond those described above. Such

   ratios were known with other salts.   See, e.g., R. Rao Gadde et al., “High

   performance liquid chromatographic analysis of chlorhexidine phosphanilate, a

   new antimicrobial agent,” J. Pharm. & Biomed. Analysis, 9, 1031 (1991) at 1036

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   (disclosing the pharmaceutical salt chlorhexidine phosphanilate having a ratio of

   1.83 phosphanilic acid to chlorhexidine) (attached as Exhibit C); Yong Guo &

   Aihua Huang, “A HILIC method for the analysis of tromethamine as the counter

   ion in an investigational pharmaceutical salt,” J. Pharm. & Biomed. Analysis, 31,

   1191 (2003) at 1200 (disclosing various salts of an investigational drug compound

   with ratios of tromethamine to drug of 1.0, 1.8, 1.9, and 2.0) (attached as

   Exhibit D).

         THE “ISOLATED” TERM

         54.     It is my understanding that the “isolated” term appears in claims 1 and

   2 of the ’787 patent, which are set forth below.

                 1. A compound selected from the group consisting of
                 isolated L-lysine-d-amphetamine and a pharmaceutically
                 acceptable salt of L-lysine-d-amphetamine.

                 2. Isolated L-lysine-d-amphetamine.

         55.     I understand that the parties disagree on the meaning of the term

   “isolated.” I have been informed that Takeda and Norwich have proposed the

   following meanings for this term:

   Claim Term        Takeda’s            Proposed Norwich’s                Proposed
                     Construction                  Construction
   “isolated”        “a substance separated from a “non-salt form”
                     crude mixture of reactants
                     and/or solvents”




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         56.   I have reviewed the ’787 patent and its prosecution history. While the

   term “isolated” is not explicitly defined, in my opinion, these materials support

   Norwich’s proposed construction. In my opinion, the meaning of “isolated” is

   “non-salt form.”

         57.   My understanding of the meaning of the term “isolated” is informed,

   in part, by the structure of the claims of the ’787 patent. The word “isolated”

   appears in two of the five claims of the ’787 patent, all of which are set forth

   below.

               1. A compound selected from the group consisting of
               isolated L-lysine-d-amphetamine and a pharmaceutically
               acceptable salt of L-lysine-d-amphetamine.

               2. Isolated L-lysine-d-amphetamine.

               3. L-lysine-d-amphetamine mesylate.

               4. L-lysine-d-amphetamine hydrochloride.

               5. A pharmaceutically acceptable salt of L-lysine-d-
               amphetamine.

   (’787 patent, claims 1-5 (emphasis added).) As indicated above, claim 1 recites

   “[a] compound selected from the group consisting of” two options, which are

   “isolated L-lysine-d-amphetamine” and “a pharmaceutically acceptable salt of L-

   lysine-d-amphetamine.”

         58.   A POSA would understand that the “isolated” term in claim 1 refers to

   the non-salt form of the compound, here L-lysine-d-amphetamine. He/she would


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   also understand that any pharmaceutically acceptable salt of L-lysine-d-

   amphetamine contained at least two components: the cation (L-lysine-d-

   amphetamine) and the anion (mesylate, for example).

                  Components of L-lysine-d-amphetamine dimesylate




   Thus, a POSA would understand that L-lysine-d-amphetamine itself is not

   “isolated” when it is in the form of a salt. A POSA would also understand that,

   unlike a salt form, the non-salt form of L-lysine-d-amphetamine contains just one

   component: L-lysine-d-amphetamine (which is uncharged, and may be referred to

   as the free base).

                              L-lysine-d-amphetamine




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   Stated another way, a POSA would understand that claim 1 establishes a

   dichotomy between an “isolated” compound (having one component) and its

   pharmaceutically acceptable salts (having two or more components). If the term

   “isolated” included salts, that would make the second part of the group –

   pharmaceutically acceptable salts – superfluous.

         59.   The rest of the specification is consistent with my understanding. The

   word “isolated” only appears once in the specification, in describing the synthesis

   of L-lysine-d-amphetamine in Example 2. The full passage is set forth below, with

   the word “isolated” highlighted.




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   (’787 patent at col. 20, l. 40 – col. 21, l. 31.)




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         60.    As indicated above, Example 2 involves two steps. The first step,

   “coupling,” involves attaching L-lysine to d-amphetamine. The result of this step

   is a product called Boc-Lys(Boc)-Amp. This is not a salt, but a precursor to L-

   lysine-d-amphetamine that includes two protecting groups (Boc) on the amine

   groups of the L-lysine moiety.




   The specification states that this product is “isolated” before proceeding to the

   second step. The specification never states that a salt is “isolated.”

         61.    In view of these disclosures, a POSA would understand that “isolated”

   L-lysine d-amphetamine means that the L-lysine d-amphetamine molecule itself is

   isolated from other molecules and atoms, including those that form salts with L-

   lysine d-amphetamine.      Takeda’s construction (“a substance separated from a

   crude mixture of reactants and/or solvents”) fails to capture the distinction in the

   claims between “isolated L-lysine-d-amphetamine” and, on the other hand, its

   “pharmaceutically acceptable salt[s].”



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         CONCLUSION

         62.    For the reasons set forth above, it is my opinion that in the Patents-in-

   Suit, the “mesylate” terms mean “a salt with any number of mesylate ions

   associated with it” and that the term “isolated” means “non-salt form.”

         SUPPLEMENTAL OPINIONS

         63.    If called to testify, my testimony may include an explanation of the

   principles that underlie the opinions expressed in this declaration.

         64.    I have based my opinion and analysis on documents and information

   available to me at the time I signed this declaration. If and when any new evidence

   arises, I reserve the right to supplement or modify my opinions to reflect that

   evidence.




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                             EXHIBIT A
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                                     EXHIBIT A

     MATERIALS CONSIDERED BY MARK D. HOLLINGSWORTH, Ph.D.

    Description
    Joint Claim Construction and Prehearing Statement (dated June 24, 2021),
    specifically with respect to the “mesylate” and “isolated” terms
    U.S. Patent No. 7,105,486 and its prosecution history
    U.S. Patent No. 7,223,735 and its prosecution history
    U.S. Patent No. 7,659,254 and its prosecution history
    U.S. Patent No. 7,662,787 and its prosecution history
    U.S. Patent No. 7,662,788 and its prosecution history
    U.S. Patent No. 7,671,030 and its prosecution history
    U.S. Patent No. 7,671,031 and its prosecution history
    U.S. Patent No. 7,674,774 and its prosecution history
    U.S. Patent No. 7,678,770 and its prosecution history
    U.S. Patent No. 7,678,771 and its prosecution history
    U.S. Patent No. 7,687,466 and its prosecution history
    U.S. Patent No. 7,687,467 and its prosecution history
    U.S. Patent No. 7,713,936 and its prosecution history
    U.S. Patent No. 7,718,619 and its prosecution history
    U.S. Patent No. 7,723,305 and its prosecution history
    R. Rao Gadde et al., “High performance liquid chromatographic analysis of
    chlorhexidine phosphanilate, a new antimicrobial agent,” J. Pharm. & Biomed.
    Analysis, 9, 1031 (1991)
    Yong Guo & Aihua Huang, A HILIC method for the analysis of tromethamine as
    the counter ion in an investigational pharmaceutical salt, J. Pharm. & Biomed.
    Analysis, 31, 1191 (2003)




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                             EXHIBIT B
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     CURRICULUM VITAE                                   MARK DAVID HOLLINGSWORTH
                                                        ASSOCIATE PROFESSOR OF CHEMISTRY
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                                                        MANHATTAN, KANSAS 66506-0401
                                                        E-MAIL: mdholl@ksu.edu
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                                                        FAX: 785-532-6666

     EDUCATION:                                         Ph.D., ORGANIC CHEMISTRY (1986)
                                                        YALE UNIVERSITY, NEW HAVEN, CT. 06511

                                                        BACHELOR OF ARTS IN CHEMISTRY (1979)
                                                        CARLETON COLLEGE, NORTHFIELD, MN 55057

     FELLOWSHIPS AND AWARDS:                            ALFRED P. SLOAN RESEARCH FELLOWSHIP (1991-3)

                                                        DISTINGUISHED DISSERTATION AWARD (IN PHYSICAL
                                                        SCIENCES AND ENGINEERING, 1983-1987)
                                                        NORTHEASTERN ASSOCIATION OF GRADUATE SCHOOLS

                                                        1987 NOBEL LAUREATE SIGNATURE AWARD FOR GRADUATE
                                                        EDUCATION IN CHEMISTRY (AMERICAN CHEMICAL SOCIETY)

                                                        RICHARD WOLFGANG MEMORIAL PRIZE
                                                        YALE UNIVERSITY (MAY, 1986)

                                                        NSF-NATO POSTDOCTORAL FELLOWSHIP
                                                        UNIV. OF CAMBRIDGE (1986-1987)

                                                        S.E.R.C. POSTDOCTORAL RESEARCH ASSISTANTSHIP
                                                        UNIV. OF CAMBRIDGE (1985-1986)

                                                        DOX FELLOWSHIP FOR RESEARCH IN ORGANIC CHEMISTRY
                                                        YALE UNIVERSITY (SUMMER, 1983)


     MEMBERSHIPS:                                       SIGMA XI
                                                        KING'S COLLEGE, CAMBRIDGE
                                                        AMERICAN CHEMICAL SOCIETY
                                                        AMERICAN CRYSTALLOGRAPHIC ASSOCIATION
                                                        AMERICAN ASSOCIATION FOR THE ADVANCEMENT OF SCIENCE

     POSITIONS AND RESEARCH EXPERIENCE:

     6-2006 TO 7-2006                                   VISITING PROFESSOR, DEPT. OF CHEMISTRY, UNIV. BORDEAUX
     7-01, 7-02, 3-05, 6-06, 5-07, 10-08, 6-09, 5-10,   VISITING PROFESSOR, DEPT. OF PHYSICS, UNIV. OF RENNES
     6-12, 6-14
     5-18, 9-18                                         CNRS VISITING ROFESSOR, DEPT. OF PHYSICS, UNIV. OF RENNES
     8-98 TO PRESENT                                    ASSOC. PROF., CHEMISTRY DEPT., KANSAS STATE UNIVERSITY
     9-91 TO 8-98                                       ASST. PROF., CHEMISTRY DEPT., INDIANA UNIVERSITY
     10-87 TO 8-91                                      ASST. PROF., CHEMISTRY DEPT., UNIVERSITY OF ALBERTA
     11-85 TO 8-87                                      POSTDOCTORAL RESEARCH ASSISTANT AND FELLOW
                                                          DEPT. OF PHYSICAL CHEMISTRY, UNIV. OF CAMBRIDGE
     5-80 TO 10-85                                      GRADUATE STUDENT, CHEMISTRY DEPT., YALE UNIVERSITY
     1-78 TO 3-79                                       UNDERGRADUATE, CARLETON COLLEGE
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   RESEARCH EXPERIENCE

   CURRENT WORK AT KANSAS STATE UNIVERSITY
   Research in solid-state organic chemistry with emphasis on dynamic and structural phenomena and on
   cooperative interactions in solid-state processes. During recent years, this work has focused on series of
   ferroelastic and ferroelectric inclusion compounds and salts that we have developed and on the generation
   of a scale of functional group interaction energies through the measurement of solid-state NMR spectra of
   inclusion compounds. Our work includes mechanistic studies of crystal growth and domain switching in
   organic single crystals and on phase transitions, and it emphasizes crystal engineering, microscopy,
   spectroscopy and crystallography of organic solids with specific chemical and physical properties. Much
   of our most recent work has involved the physical crystallography of aperiodic crystals.

   UNIVERSITY OF CAMBRIDGE, 11-85 TO 8-87 (POSTDOCTORAL)
   Research in solid-state photochemistry emphasizing structural and dynamic characterization of reactive
   intermediates generated from organic molecules trapped in zeolites and inclusion compounds. I used
   radical pair EPR spectroscopy to study the effects of long-range stress and intra- and intermolecular
   substituents on solid-state reactions, but I also worked solid-state photochemistry/EPR spectroscopy of
   acridizinium halides and X-ray crystallography.

   YALE UNIVERSITY, 1980-1985 (GRADUATE)
   Dissertation: Infrared Studies of CO2 Dimers as a Probe of Local Stress in Solid State Peroxide Reactions.
   In this research I used the asymmetric stretching mode of CO2 to study the structure and dynamics of CO2
   dimers photogenerated in single crystals of diacyl peroxides. This work demonstrates that motion of the
   intermediates is controlled by anisotropic stresses equivalent to 20-30 kbar or more. Polarized IR studies
   of oriented crystals and analysis of intermolecular resonant coupling were used to determine the
   orientations of the CO2 molecules, while substituent and intra- and intermolecular isotope effects helped
   elucidate the reaction pathways.
            Single crystal radical pair ESR of the ground state of the benzoyloxyl radical: This study, which
                                                17
   built upon earlier work in our group on the O-hyperfine anisotropy of the benzoyloxyl radical, involved
                         13                                13                                          13
   measurement of the C hfs constants of this radical in C-1-labeled acetyl benzoyl peroxide. The C hfs
                                                 2
   constants corroborated the earlier claim of a B2 ground state.
            Synthesis directed toward ESR studies of the norbornenyl-nortricyclyl radical rearrangement in
   the solid state: This project involved design and synthesis of compounds that yield spectroscopically
   suitable radical pairs upon photolysis.
            My dissertation work was recognized with the Wolfgang Memorial Prize (best chemistry
   dissertation at Yale), the 1987 Nobel Laureate Signature Award for Graduate Education in Chemistry
   (best chemistry dissertation in the U.S.) and the Distinguished Dissertation Award from the Northeastern
   Association of Graduate Schools (most distinguished dissertation in physical sciences and engineering
   from 1983-1987 in a consortium of approximately 60 graduate schools in the northeastern United States.)

   CARLETON COLLEGE, 1978-79 (UNDERGRADUATE)

   With two Carleton professors, C.E. Buchwald (geologist) and J.R. Mohrig (chemist) I conducted a
   yearlong study of the Cannon River at Northfield, Minn. I was mainly concerned with very accurate
   measurement of the river's dissolved oxygen content, to see if the local sewage treatment plant's methods
   were in any way deficient. I also conducted organic chemistry research with Prof. Nancy S. Mills on "Y-
   aromaticity" of the dianion of 2-methyl- 2-butene. This research included synthesis, quenching and NMR
   spectroscopy of these dianions.


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   Transitions in Incommensurate Alkane/urea Inclusion Compounds,” R. Soc. Open Sci., 6,
   182073 (2019). DOI: 10.1098/rsos.182073.

   49. B. Kahr, L. B. McHenry, and M. D. Hollingsworth, “Academic Publishing and Scientific
   Integrity: Case Studies of Editorial Interference at Taylor & Francis,” J. Sci. Pract. Integ., 1,
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   Interest,” J. Sci. Pract. Integ., 1 (2019). DOI: 10.35122/jospi.2019.848394.

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   D. Hollingsworth, “Comment on “The True Structural Periodicities and Superspace Group
   Descriptions of the Prototypical Incommensurate Composite Materials: Alkane/urea Inclusion
   Compounds,” by Couzi M. et al.,” EPL, 119, 66004 (2017); DOI: 10.1209/0295-
   5075/119/66004. This paper was selected by the Editor in Chief to be open access.

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   Toudic, “Frustrated Pretransitional Phenomena in Aperiodic Composites,” Phys. Rev. B., 94,
   184105 (2016); DOI: 10.1103/PhysRevB.94.184105.

   45. L. Guérin, C. Mariette, P. Rabiller, M. Huard, S. Ravy, P. Fertey, Shane M. Nichols, Bo
   Wang, Stefan C. B. Mannsfeld, T. Weber, Mark D. Hollingsworth, and B. Toudic, “Long-range
   Modulation of a Composite Crystal in a Five-dimensional Superspace,” Phys. Rev. B, 91, 184101
   (2015); DOI: 10.1103/PhysRevB.91.184101.

   44. C. Mariette, L. Guérin, P. Rabiller, Y.-S. Chen, A. Bosak, A. Popov, M. D. Hollingsworth,
   and B. Toudic, “The Creation of Modulated Monoclinic Aperiodic Composites in n-Alkane/urea
   Compounds,” Z. Kristallogr., 230, 5-11 (2015); DOI: 10.1515/zkri-2014-1773.

   43. P. Rabiller, B. Toudic, C. Mariette, L. Guérin, C. Ecolivet, M. D. Hollingsworth, “Phase
   Transitions in Aperiodic Crystals,” in Aperiodic Crystals, Siegbert Schmid, Ray L. Withers, Ron
   Lifshutz, Eds., Springer Science+Business Media, Dordrecht, 2013, pp. 171-177; DOI:
   10.1007/978-94-007-6431-6.

   42. C. Mariette, L. Guérin, P. Rabiller, C. Ecolivet, P. García-Orduña, P. Bourges, A. Bosak, D.
   de Sanctis, M. D. Hollingsworth, T. Janssen, B. Toudic, “Critical Phenomena in Higher
   Dimensional Spaces: The Hexagonal-to-Orthorhombic Phase Transition in Aperiodic n-
   Nonadecane/urea,” Phys. Rev. B, 87, 101401 (2013); DOI: 10.1103/PhysRevB.87.104101

   41. M. D. Hollingsworth, M. L. Peterson, B. D. Dinkelmeyer, “Space Group Assignment and
   Evaluation of End-For-End Guest Disorder in Urea Inclusion Compounds," Trans. Am. Cryst.
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   40. C. Mariette, M. Huard, P. Rabiller, S. M. Nichols, C. Ecolivet, T. Janssen, K. E. Alquist, III,
   M. D. Hollingsworth, B. Toudic, "A Molecular “Phase-Ordering” Phase Transition leading to a
   Modulated Aperiodic Composite in n-Heptane/urea," J. Chem. Phys., 136, 104507-1 to 104507-6
   (2012); DOI: 10.1063/1.3692329

   39. M. Huard, B. Toudic, P. Rabiller, C. Ecolivet, P. Bourges, T. Breczewski, M. D.
   Hollingsworth, "Confined Linear Molecules Inside an Aperiodic Supramolecular Crystal: the
   Sequence of Superspace Phases in n-Hexadecane/urea,” J. Chem. Phys., 135, 204505-1 to
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   38. M. D. Hollingsworth, “Calcite Biocomposites Up Close,” an invited Perspective for Science,
   326, 1194-1195 (Nov. 27, 2009); DOI: 10.1126/science.1183122

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   M. D. Hollingsworth, T. Breczewski, “Hidden Degrees of Freedom in Aperiodic Materials,”
   Science, 319, 69-71 (Jan. 4 2008). DOI: 10.1126/science.1146745. See also P. Coppens, "A
   Phase Transition Hidden in Higher Dimensions (Science, 319, 41-42, Jan. 4, 2008) and S.
   Hurtley and P. Szuromi “Motion in a Higher Plane,” (Science, 319, 11, Jan. 4, 2008).

   36. M. D. Hollingsworth, “Molecular Recognition within One-dimensional Channels,” in
   Turning Points in Solid-state, Materials and Surface Science: A Book in Celebration of the Life
   and Work of Sir John Meurig Thomas," K. D. M Harris, P. P. Edwards, Eds., The Royal Society
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   35. M. D. Hollingsworth, J. A. Swift, B. Kahr, “J. Michael McBride at 65 - An Appreciation,”
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   34. M. D. Hollingsworth, M. L. Peterson, J. R. Rush, M. E. Brown, M. J. Abel, A. A. Black, M.
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   87. Invited Lecture: M. D. Hollingsworth, B. Wang, I. Frantsuzov, S. M. Nichols, P. Rabiller, C.
   Mariette, L. Guérin, and B. Toudic, “Phase Transitions in Organic Inclusion Compounds,” 24th
   International Conference on the Chemistry of the Organic Solid State, New York, NY, June 16-
   21, 2019.

   86. Invited Lecture: M. D. Hollingsworth, “Phase transitions and self-compression in channel
   inclusion compounds,” workshop on Breaking and Making Bonds with Light, Telluride, CO July
   9-12, 2018.

   85. Invited Plenary Lecture: M. D. Hollingsworth, Bo Wang, Ilya S. Frantsuzov, Shane M.
   Nichols, Philippe Rabiller, Céline Mariette, Laurent Guérin, and Bertrand Toudic, “Self-
   compression in Channel Inclusion Compounds,” 23rd International Conference on the Chemistry
   of the Organic Solid State, Stellenbosch, South Africa, April 2-7, 2017.

   84. Invited Lecture: M. D. Hollingsworth, “Compression and Self-compression in Channel
   Inclusion Compounds,” workshop on Energy and Movement in Coherent Chemical Systems,
   Telluride, CO July 4-8, 2016.

   83. Invited Lecture: M. D. Hollingsworth, B. Wang, I. S. Frantsuzov, S. M. Nichols, P. Rabiller,
   C. Mariette, L. Guérin, and B. Toudic, “Synchrotron studies of self-compression in channel
   inclusion compounds,” Pacifichem 2015, Honolulu, HI, Dec. 2015.

   82. Invited Lecture: M. D. Hollingsworth, “The Midwest Organic Solid State Chemistry
   Symposium: Origins and the Early Years,” 24th Midwest Organic Solid State Chemistry
   Symposium, Iowa City, IA, June, 2014.

   81. Invited Lecture: M. D. Hollingsworth, B. Wang, S. M. Nichols, X. Li, P. Rabiller, B. Toudic,
   “Synchrotron Studies of Phase Transitions in Channel Inclusion Compounds,” 2013 Midwest
   Regional Meeting of the American Chemical Society, Springfield, MO, Oct. 16-18, 2013.

   80. Contributed Lecture: M. D. Hollingsworth, B. Wang, S. M. Nichols, X. Li, B. Toudic, P.
   Rabiller, C. Mariette, M. Huard, and L. Guerin, “Crystal growth and phase transitions in
   commensurate and incommensurate inclusion compounds,” 21st International Conference on the
   Chemistry of the Organic Solid State, Oxford, United Kingdom, Aug. 4-9, 2013.

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   79. Invited Lecture: M. D. Hollingsworth, “Surface Roughening, Molecular Recognition, and
   Phase Transitions in Channel Inclusion Compounds,” Symposium in Honor of J. Michael
   McBride, Department of Chemistry, Yale University, New Haven, Oct. 27, 2012

   78. Invited Lecture: M. D. Hollingsworth S. M. Nichols, B. Wang, K. E. Alquist III, A. D.
   Adams, B. Toudic, P. Rabiller, M. Huard, C. Mariette, and L. Guerin, “Channel Inclusion
   Compounds in Three, Four, and Five Dimensions,” Transactions Symposium, American
   Crystallographic Association National Meeting, Boston, MA, July 2012.

   77. Invited Lecture: M. D. Hollingsworth, B. Wang, S. M. Nichols, B. Toudic, P. Rabiller,
   “Substituent Effects and Domain Switching in Periodic and Aperiodic Inclusion Compounds,”
   Colloque d’Agence Nationale de la Recherche à Rennes: Stability of Aperiodic Phases,
   University of Rennes, Rennes, France, July 2-3, 2012.

   76. Contributed lecture: M. D. Hollingsworth, J. Bacsa, J. R. Rush, K. E. Alquist III, S. M.
   Nichols, B. Toudic, P. Rabiller, “Surface Roughening and Crystal Growth of Channel Inclusion
   Compounds,” 2011 American Conference on Crystal Growth and Epitaxy, Monterey, CA, July
   31-August 5, 2011.

   75. Invited lecture: M. D. Hollingsworth; F. Nozirov; R. B. Gajda; S. M. Nichols; E. J. Chan; W.
   Kaminsky, “Structures and Dynamics of Organic Ferroelastics and Ferroelectrics,” Pacifichem
   2010, Honolulu, Hawaii, Dec. 14-18, 2010.

   74. Invited Lecture: M. D. Hollingsworth, S. M. Nichols, F. Nozirov, R. B. Gajda, E. J. Chan, M.
   Huard, B. Toudic, P. Rabiller, C. Ecolivet, and C. Mariette, “Stress and Strain in Crystal
   Engineering,” 5th Bologna Convention on Crystal Forms, Bologna, Italy, Sept. 2-4, 2010.

   73. Invited Lecture: M. D. Hollingsworth, J. Bacsa, J. R. Rush, K. E. Alquist III, S. M. Nichols,
   B. Toudic, P. Rabiller, “Surface Roughening in the Crystal Growth of Channel Inclusion
   Compounds,” 19th International Conference on the Chemistry of the Organic Solid State, Sestri
   Levante, Italy, June 14-19, 2009.

   72. Contributed Lecture: M. D. Hollingsworth, M. L. Peterson, D. S. Kesselring, A. G.
   Butenhoff, D. A. Higgins, G. Springer, F. Guillaume, “A New Family of Ferroelastic and
   Ferroelectric Calixarenes,” Nineteenth Midwest Organic Solid State Chemistry Symposium,
   Manhattan, KS, June 2008.

   71. Invited Lecture/Panel Discussion: M. D. Hollingsworth, “Design and Control of Structure
   and Function of Molecular Crystals and Solid-State Supramolecular Assemblies,” Chemistry for
   the 21st Century, Yale Alumni Chemistry Reunion, Yale University, Nov. 2-4, 2007.

   70. Invited Lecture: M. D. Hollingsworth, M. L. Peterson, J. R. Rush, M. J. Abel, A. A. Black,
   “Memory and Perfection in Ferroelastic Inclusion Compounds,” 42nd Congress of the Mexican
   Chemical Society, Guadalahara, Mexico, Sept. 2007.


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   69. Plenary Lecture: M. D. Hollingsworth, J. R. Rush, J. Bacsa, F. Guillaume, A. Desmedt, M. J.
   Abel, and A. A. Black, “Supramolecular Stereochemistry and Crystal Growth in Channel
   Inclusion Compounds,” 18th International Conference on the Chemistry of the Organic Solid
   State, Merida, Venezuela, July 8-13, 2007. I also gave a lecture entitled, “Venezuela Birds - A
   Great National Heritage” as the last talk of the conference.

   68. Invited Lecture: M. D. Hollingsworth, “Molecular Recognition in Channel Inclusion
   Compounds - Or Not!” School on Materials Applications of the Organic Solid State, Merida,
   Venezuela, July 2-7, 2007.

   68. Invited Lecture: M. D. Hollingsworth, “Ferroelastic and Ferroelectric Materials - Properties
   and Design,” School on Materials Applications of the Organic Solid State, Merida, Venezuela,
   July 2-7, 2007.

   68. Invited Lecture: M. D. Hollingsworth, “The Role of Local and Long-range Stress in Solid
   State Photoreactions,” School on Materials Applications of the Organic Solid State, Merida,
   Venezuela, July 2-7, 2007.

   67. Invited Lecture: M. D. Hollingsworth, J. R. Rush, J. Bacsa, F. Guillaume, A. Desmedt, M. J.
   Abel, and A. A. Black, “Supramolecular Stereochemistry and Crystal Growth in Channel
   Inclusion Compounds,” XIth International Seminar on Inclusion Compounds (ISIC–11), Kyiv,
   Ukraine, June 10 - 15, 2007.

   66. Contributed Lecture: M. D. Hollingsworth, J. R. Rush, M. L. Peterson, M. J. Abel, A. A.
   Black, D. S. Kesselring, A. G. Butenhoff, M. Dudley, B. Raghothamachar, “Memory and
   Perfection in Domain Switching Processes,” 11th International Meeting on Ferroelectricity,
   Iguassu Falls, Brazil, Sept. 5-9, 2005.

   65. Invited Lecture: M. D. Hollingsworth, "Memory and Perfection in Domain Switching
   Processes," Summer School on Stereochemical Aspects of Novel Materials, International Center
   for Materials Research, UCSB, Santa Barbara, CA., August 14-26, 2005.

   64. Invited Lecture: M. D. Hollingsworth, “Supramolecular Stereochemistry and Crystal Growth
   in Channel Inclusion Compounds,” Summer School on Stereochemical Aspects of Novel
   Materials, International Center for Materials Research, UCSB, Santa Barbara, CA., August 14-
   26, 2005.

   63. Contributed Lecture: M. D. Hollingsworth, J. R. Rush, M. L. Peterson, M. J. Abel, A. A.
   Black, D. S. Kesselring, A. G. Butenhoff, “Memory and Perfection in Domain Switching
   Processes,” 17th International Conference on the Chemistry of the Organic Solid State, UCLA,
   Los Angeles, CA, July 24-29, 2005.

   62. Invited Lecture: M. D. Hollingsworth, J. R. Rush, J. Bacsa, F. Guillaume, A. Desmedt, M. J.
   Abel, and A. A. Black, “Static versus Dynamic Surface Roughening in the Crystal Growth of
   Channel Inclusion Compounds,” 2005 American Conference on Crystal Growth and Epitaxy,
   Big Sky, MT, July 2005

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   61. Invited Lecture: M. D. Hollingsworth, J. R. Rush, M. L. Peterson, M. J. Abel, A. A. Black,
   D. A. Kesselring, A. G. Butenhoff, “Crystal Engineering, Crystal Growth and Memory Effects in
   Ferroelastics and Ferroelectrics,” Workshop on Designing Non-Traditional Materials Based on
   Geometrical Principles Hanover, Germany, June 20-22, 2005.

   60. Invited Lecture: M. D. Hollingsworth, J. R. Rush, M. L. Peterson, M. Dudley, B.
   Ragothamachar, M, J. Abel, A. A. Black, “Memory, Perfection and Rubber-like Behavior in
   Ferroelastic and Ferroelectric Inclusion Compounds,” American Crystallographic Association
   National Meeting, Orlando, FL, May 2005.

   59. Contributed Lecture: M. D. Hollingsworth, M. L. Peterson, J. R. Rush, M. J. Abel, A. A.
   Black, D. A. Kesselring, A. G. Butenhoff, K. L. Pate, and J. A. Cooper, “From Ferroelastics to
   Ferroelectrics,” Midwest Regional ACS Meeting, Manhattan, KS Oct. 2004.

   58. Invited Lecture: M. D. Hollingsworth, M. L. Peterson, J. R. Rush, M. J. Abel, A. A. Black,
   D. A. Kesselring and A. G. Butenhoff, “From Ferroelastics to Ferroelectrics,” 39th Congress of
   the Mexican Chemical Society, Merida, Mexico, Oct. 2004.

   57. Contributed Lecture: M. D. Hollingsworth, J. Bacsa, C. F. Campana and M. L. Peterson,
   “Translational Disorder and Crystal Growth Mechanisms in Channel Inclusion Compounds,”
   American Crystallographic Association National Meeting, Chicago, IL, July 2004

   56. Plenary Lecture: M. D. Hollingsworth, J. R. Rush, M. L. Peterson, B. L Champion, M. J.
   Abel, and A. A. Black, “Symmetry Reduction in Ferroelastics: A General Approach to New
   Ferroelectric Materials?” Sixteenth International Conference on the Chemistry of the Organic
   Solid State, Sydney, Australia, July 13-18, 2003.

   55. Poster: M. D. Hollingsworth, J. R. Rush, J. Bacsa, F. Guillaume, A. Desmedt, E. Elisabeth,
   M. J. Abel, and A. A. Black, “Static versus Dynamic Surface Roughening in the Crystal Growth
   of Channel Inclusion Compounds,” Sixteenth International Conference on the Chemistry of the
   Organic Solid State, Sydney, Australia, July 13-18, 2003.

   54. Invited Lecture: M. D. Hollingsworth, M. L. Peterson, M. J. Abel, A. A. Black, D. A.
   Higgins, G. Springer, J. C. Desper, J. Bacsa, M. Dudley, B. Ragothamachar, “Ferroelastic and
   Ferroelectric Domain Switching in Organic Inclusion Compounds,” XIIth International
   Symposium on Supramolecular Chemistry, Oct. 6-11, 2002, Eilat, Israel.

   53. Contributed Lecture: Hollingsworth, M. D., Peterson, M. L., Bacsa, J., Dudley, M., and
   Ragothamachar, B., “Twinning, Epitaxy, and Domain Switching in Ferroelastic Inclusion
   Compounds,” NASA Microgravity Materials Science Conference, Huntsville, AL, June 25-27,
   2002.

   52. Invited Lecture: Hollingsworth, M. D., Peterson, M. L., Bacsa, J., Champion, B. L., Cooper,
   J. A. “New Tools for Studying Ferroelastic and Ferroelectric Domain Switching,” American
   Conference on Crystal Growth/West, Lake Tahoe, CA, June 2002.

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   51. Invited Lecture: Hollingsworth, M. D., Peterson, M. L., Bacsa, J., Champion, B. L., “New
   Tools for Studying Ferroelastic and Ferroelectric Domain Switching,” American
   Crystallographic Association National Meeting, San Antonio, TX, May 2002.

   50. Contributed Lecture: Hollingsworth, M. D., Peterson, M. L., Kesselring, D. S., Butenhoff, A.
   G., Higgins, D. A., Springer, G., “A New Family of Ferroelastic and Ferroelectric Calixarenes,”
   Fifteenth International Conference on the Chemistry of the Organic Solid State, Mainz,
   Germany, July 29 - August 3, 2001.

   49. Poster: Pate, K. L., Peterson, M. L., Dinkelmeyer, B. D., Brown, M. E., Hollingsworth, M. D.
   “Failure of the topochemical postulate during a phase transition in a ferroelastic inclusion
   compound,” poster presented at the Fifteenth International Conference on the Chemistry of the
   Organic Solid State, Mainz, Germany, July 29 - August 3, 2001.

   48. Poster: Peterson, M. L., Hollingsworth, M. D., Dudley, M. and Ragothamachar, B.
   “Synchrotron white beam X-ray topography of domain switching in ferroelastic inclusion
   compounds,” poster presented at the Fifteenth International Conference on the Chemistry of the
   Organic Solid State, Mainz, Germany, July 29 - August 3, 2001.

   47. Invited Lecture: Hollingsworth, M. D.; Peterson, M. L., Geiger, T. A., Pate, K. L.,
   Kesselring, D. S. and Butenhoff, A. G. “Ferroelastic and Ferroelectric Domain Switching in
   Organic Inclusion Compounds.” Southwest-Southeast Regional ACS meeting, New Orleans, LA,
   Dec. 6-8, 2000.

   46. Invited Lecture: Hollingsworth, M. D., Peterson. M. L., Dinkelmeyer, B., Kesselring, D. S.,
   Butenhoff, A. G., “Ferroelastic and Ferroelectric Domain Switching in Organic Inclusion
   Compounds,” Dynamics and Transformations of Molecular Materials (Eighth Polish-French
   Chemistry Seminar), Czocha Castle, Poland, Sept. 13-17, 2000.

   45. Poster: Hollingsworth, M. D., Peterson, M. L., Dudley, M., Ragothamachar, B. “Synchrotron
   White Beam X-ray Topography Studies of Cooperativity and Impurity Control in Ferroelastic
   Domain Switching Processes.” Dynamics and Transformations of Molecular Materials (Eighth
   Polish-French Chemistry Seminar), Czocha Castle, Poland, Sept. 13-17, 2000.

   44. Invited Lecture: Hollingsworth, M. D., “Ferroelastic and Ferroelectric Domain Switching in
   Organic Inclusion Compounds,” Gordon Conference on "Organic Structures and Properties:
   Extended Systems," Connecticut College, June 17-22, 2000.

   43. Poster: Peterson, M. L., Hollingsworth, M. D., Brown, M. E., Dudley, M., Raghothamachar,
   B., “Tailor-made Impurity Control of Elastic Versus Plastic Domain Switching in Ferroelastic
   Inclusion Compounds,” Gordon Conference on "Organic Structures and Properties: Extended
   Systems," Connecticut College, June 17-22, 2000.

   42. Poster: Hollingsworth, M. D., Brown, M. E., Peterson, M. L., Dudley, M., Raghothamachar,
   B., “Tailor-made Impurity Control of Elastic Versus Plastic Domain Switching in Ferroelastic

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   Inclusion Compounds,” NASA Microgravity Materials Science Conference, Huntsville, AL
   June 5-8, 2000.

   41. Poster: Hollingsworth, M. D., Brown, M. E., Dudley, M., Chung, H., “Synchrotron White
   Beam X-ray Topography of Domain Switching and Twinning in Organic Inclusion Compounds,”
   Minisymposium on Physical and Biophysical Chemistry, Kansas State University, Manhattan,
   KS, Oct. 30, 1999.

   40. Poster: Hollingsworth, M. D.; Brown, M. E.; Werner-Zwanziger, U.; Chaney, J. D. “Spring-
   loaded Phase Transitions in Urea Inclusion Compounds,” Fourteenth International Conference
   on the Chemistry of the Organic Solid State, Cambridge, U.K., July 25-30, 1999.

   39. Contributed Lecture: Hollingsworth, M. D., Kesselring, D., Dinkelmeyer, B., Brown, M. E.,
   “Crystal Growth, Domain Switching and the Search for Ferroelectric Behavior in Calixarene
   Solid Solutions,” Fourteenth International Conference on the Chemistry of the Organic Solid
   State, Cambridge, U.K., July 25-30, 1999.

   38. Invited Lecture: Hollingsworth, M. D., U. Werner-Zwanziger, J. D. Chaney, and M. E.
   Brown, “Domain Switching and Phase Transitions as Models for Solid State Reactions,” US-
   Japan workshop on Solid State Chemistry, Lake Arrowhead, CA, Dec. 6-10, 1998.

   37. Invited Lecture: Hollingsworth, M. D., J. D. Chaney, M. E. Brown, U. Werner-Zwanziger,
   “Domain and Phase Growth in Organic Inclusion Compounds,” American Crystallographic
   Society, Annual Meeting, symposium on "Crystal Growth: Techniques and Mechanisms," July
   24-28, 1998.

   36. Invited Lecture: Hollingsworth, M. D. and co-workers, “Domain Switching as a Model for
   Solid State Reactions,” 27th Reactions Mechanisms Conference, Asilomar Conference Center,
   Carmel, CA, June 28-July 3, 1998.

   35. Plenary Lecture: Hollingsworth, M. D. “Cooperative Processes and Domain Switching in
   Organic Inclusion Compounds,” Organic Crystal Chemistry Symposium (OCC97), Rydzyna,
   Poland, 17-21 August 1997.

   34. Plenary Lecture: Hollingsworth, M. D., “Crystal Growth and Domain Switching in Organic
   Inclusion Compounds,” Thirteenth International Conference on the Chemistry of the Organic
   Solid State, Stony Brook, NY, July 13-18, 1997.

   33. Poster: U. Werner-Zwanziger, J.D. Chaney, M.E. Brown, E.J. Still, and M.D. Hollingsworth,
    2
   “ H NMR Studies of Guest-Induced Strain in Commensurate Inclusion Compounds of Urea,”
   Thirteenth International Conference on the Chemistry of the Organic Solid State, Stony Brook,
   NY, July 13-18, 1997.

   32. Poster: J. D. Chaney, H. Chung, M. E. Brown, M. D. Hollingsworth, and M. Dudley,
   “Synchrotron White Beam X-ray Topography and X-ray Crystallographic Studies of Domains


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   and Domain Switching in Channel Inclusion Compounds,” Thirteenth International Conference
   on the Chemistry of the Organic Solid State, Stony Brook, NY, July 13-18, 1997.

   31. Invited lecture: M. D. Hollingsworth and co-workers, “Design and Growth of Ferroelastic
   Inclusion Crystals” Gordon Conference on Physical Organic Chemistry, Holderness School,
   New Hampshire, June 1997.

   30. Invited lecture: M. D. Hollingsworth and co-workers, “Ferroelastic Domain Switching as a
   Model for Solid State Reactivity,” symposium on "Modification of Chemical Behavior by Use of
   Supramolecular Assemblies" at the 1997 Canadian Society for Chemistry National Meeting,
   Windsor, ON, June 1-5, 1997

   29. Invited lecture: M. D. Hollingsworth, Michael E. Brown, Jason D. Chaney, Ulrike Werner-
   Zwanziger and Elizabeth A. Crane, “Topology, Architecture and Tailor-made Impurities in
   Ferroelastic Inclusion Compounds, symposium on "Molecular Design for Self-Assembled
   Structures: Principles and Applications,” at the Central Regional ACS Meeting, Midland, MI,
   May 28-30, 1997.

   28. Invited lecture: M. D. Hollingsworth, “Superstructure Control of Shape and Ferroelasticity of
   Urea Inclusion Compounds,” 4th NSF-Sponsored Materials Chemistry Workshop, Philadelphia,
   PA, Oct. 17-20, 1996.

   27. Invited lecture: M. D. Hollingsworth, M. E. Brown, U. Werner-Zwanziger, J. D. Chaney, E.
   A. Crane and E. J. Still, “Superstructure Control of Crystal Growth and Ferroelasticity in Urea
   Inclusion Compounds,” Ninth International Symposium on Molecular Recognition and
   Inclusion, Lyon, France, Sept. 7-12, 1996

   26. Poster: M. D. Hollingsworth, M. E. Brown, J. D. Chaney, U. Werner-Zwanziger, E. J. Still, J.
   A. Vanecko, “Cooperative Mechanisms in Ferroelastic Inclusion Compounds,” 26th Reaction
   Mechanisms Conference, Stony Brook, NY, June 7-12, 1996.

   25. Invited lecture: M. D. Hollingsworth, M. E. Brown, J. D. Chaney, U. Werner-Zwanziger, E.
   J. Still, J. A. Vanecko, “Superstructure Control of Shape and Elasticity of Urea Inclusion
   Compounds,” NATO Advanced Research Workshop, Self-Assembly in Synthetic Chemistry,
   Val Morin, Quebec, May 16-21, 1996.

   24. Invited lecture: M. D. Hollingsworth, U. Werner-Zwanziger and M. E. Brown,
   “Spectroscopic and Structural Studies of Functional Group Pairs in Channel Inclusion
   Compounds,” International Congress of Pacific Basin Societies (PACIFICHEM ‘95), Honolulu,
   HI, Dec. 17-22, 1995 (Symposium on Role of Spectroscopic Methods in Modern Inorganic
   Chemistry).

   23: Invited short talk: M. D. Hollingsworth, “Crystal Growth and Ferroelasticity in Organic
   Inclusion Compounds,” NATO Advanced Research Workshop, Crystals: Supramolecular
   Materials," Sestri Levante, Italy, August 1995.


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   22. Poster: M. E. Brown and M. D. Hollingsworth, “The Role of Superstructures in the Crystal
   Growth and Ordering of Urea Inclusion Compounds,” NATO Advanced Research Workshop,
   Crystals: Supramolecular Materials," Sestri Levante, Italy, August 1995.

   21. Contributed lecture: M. D. Hollingsworth, M. E. Brown and A. D. Hillier, “The Role of
   Superstructures in the Crystal Growth and Ordering of Supramolecular Assemblies,” Third
   International Workshop on Crystal Growth of Organic Materials, Washington, D. C. August
   1995.

   20. Poster: M. D. Hollingsworth and M. E. Brown, “The Role of Superstructures in the Crystal
   Growth and Ordering of Supramolecular Assemblies,” 8th International Symposium on
   Molecular Recognition and Inclusion, Carleton University, Ottawa, Ontario, August 1994.

   19. Poster: M. D. Hollingsworth, M. E. Brown, A. E. Aliev and K. D. M. Harris,
   “Crystallographic and Magnetic Resonance Anomalies in n-Alkanone/Urea Inclusion
   Compounds,” Eleventh International Conference on the Chemistry of the Organic Solid State,
   Jerusalem, Israel, July 1993.

   18. Poster: M. D. Hollingsworth, C. R. Goss and K. Folting, “Crystal Packing and Interactions in
   Primary N-Alkyl Formamides,” Eleventh International Conference on the Chemistry of the
   Organic Solid State, Jerusalem, Israel, July 1993.

   17. Plenary Lecture: Hollingsworth, M. D., Brown, M. E., John C. Huffman and O. H. Han,
   “Functional Group Recognition in Channel Inclusion Compounds,” Eleventh International
   Conference on the Chemistry of the Organic Solid State, Jerusalem, Israel, July 1993.

   16. Invited Lecture: Hollingsworth, M. D., “Functional Group Recognition in Channel Inclusion
   Compounds,” Gordon Conference on Physical Organic Chemistry, June 1993, The Holderness
   School, NH.

   15. Invited Lecture: Hollingsworth, M. D., Twelfth NSF Workshop on Reactive Intermediates,
   June 1993, Lake Tahoe, CA.

   14. Contributed lecture: Hollingsworth, M. D., J. C. Huffman, S. P. Smart and K. D. M. Harris,
   “Functional Group Recognition and Non-recognition in Channel Inclusion Compounds,”
   American Crystallographic Association National Meeting, Pittsburgh, PA, August 1992

   13. Contributed Lecture: Hollingsworth, M. D., B. D. Santarsiero, J. C. Huffman, C. R. Goss, K.
   Folting, H. O. Mahamat and L. Di, “Packing Efficiency and Interactions in Channels and
   Layers,” 4th Midwest Organic Solid State Chemistry Symposium, Lincoln, Nebraska, June 1992.

   12. Poster: Hollingsworth, M. D., Goss, C. R, Harris, K. D. M., Santarsiero, B. D., “Long Range
   Dipole Organization and Crystal Habits of n-Alkanone/Urea Inclusion Compounds,” Tenth
   International Conference on the Chemistry of the Organic Solid State, Vancouver, B.C., July
   1991.


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   11. Poster: Hollingsworth, M. D., K. D. M. Harris, C. R. Goss, C. M. Bigam and A. R. Palmer,
   “Toward a Scale of Functional Group Interaction Energies: Equilibrium Control of Guest
   Orientations in Channel Inclusion Compounds of Perhydrotriphenylene,” Sixth International
   Symposium on Molecular Recognition and Inclusion, Berlin, Federal Republic of Germany,
   Sept. 10-14, 1990.

   10. Poster: M. D. Hollingsworth, N. Cyr, J. Huang, S. B. Rusch and C. J. Nichols, “Functional
   Group Recognition in Channel Inclusion Complex Formation,” Ninth International Conference
   on the Chemistry of the Organic Solid State, Como, Italy, July 2-7, 1989.

   9. Invited keynote lecture: M. D. Hollingsworth, “Cooperativity and Molecular Recognition in
   Crystals,” Second Annual Midwest Organic Solid State Chemistry Symposium, Minneapolis,
   MN, June 10-11, 1989.

   8. Invited Lecture: M. D. Hollingsworth, J. Huang, K.D.M. Harris and N. Cyr, “Studying
   Substituent Effects in Channels,” 72nd Canadian Chemical Conference and Exhibition, Victoria,
   B.C., June 4-8, 1989.

   7. Awards Address: M. D. Hollingsworth, “Infrared Studies of CO2 Dimers as a Probe of Local
   Stress in Solid State Peroxide Reactions,” for receipt of the Distinguished Dissertation Award
   (Physical Sciences and Engineering, 1982-1986), Annual Meeting of the Northeastern
   Association of Graduate Schools, State College, PA, April 1988.

   6. Plenary Lecture: M. D. Hollingsworth, “Radical Reactions in Crystalline Hosts,” Eighth
   International Congress on the Chemistry of the Organic Solid State, Lyon-Villeurbanne, France,
   July 1987.

   5. Awards address: Hollingsworth, M. D. and J. M. McBride, “Local Stress and Mechanism in
   Solid State Photochemistry,” for receipt of the 1987 Nobel Laureate Signature Award for
   Graduate Education in Chemistry, 193rd ACS National Meeting, Denver, Colo., April 1987

   4. Poster: Hollingsworth, M. D. and J. M. McBride, “Infrared Studies of Long-Range Stress in
   Solid-State Peroxide Photoreactions,” The Eighth International Congress on the Chemistry of the
   Organic Solid State, Lyon-Villeurbanne, France, July 1987.

   3. Poster: Hollingsworth, M. D. and J. M. McBride, “Infrared Studies of Photoreactions within
   Crystalline Acetyl Benzoyl Peroxide,” The Eighth International Congress on the Chemistry of
   the Organic Solid State, Lyon-Villeurbanne, France, July 1987.

   2. Poster: Harris, K. D. M., M. D. Hollingsworth, W. Jones and J. M. Thomas, “Structure and
   Reactivity of Diacyl Peroxide/Urea Inclusion Complexes,” The Eighth International Congress on
   the Chemistry of the Organic Solid State, Lyon-Villeurbanne, France, July 1987.

   1. Poster: Harris, K. D. M., M. D. Hollingsworth, W. Jones, J. M. Thomas and W.-N. Wang, “A
   Comparison of Photoreactivity of Diacyl Peroxides in Urea and Aluminosilicate Hosts,” 4th
   International Symposium on Inclusion Phenomena, Lancaster, U. K. July 1986.

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   CO-AUTHORED CONTRIBUTIONS TO CONFERENCES BY STUDENTS AND COLLABORATORS

   52. Poster: I. Frantsuzov, C. Mariette, Bo Wang, L. Guerin, P. Rabiller, B. Toudic, and Mark D.
   Hollingsworth, “Frustrated Phases in Higher Dimensions,” British Crystallographic Association
   Spring Meeting, Nottingham, U.K., April 15-18, 2019.

   51. Contributed talk: Ilya Frantsuzov, Bo Wang, Mark Hollingsworth, Shane M. Nichols,
   Philippe Rabiller, Céline Mariette, Laurent Guérin, Bertrand Toudic, “Self-Compression in Urea
   Inclusion Compounds,” Aperiodic 2018, Ames, IA, July 8-13, 2018.

   50. Contributed talk: Adam Lechner, Bo Wang, Mark D. Hollingsworth, “Polymorphism in
   Fumaronitrile and Growth of Cocrystals with Urea,” 27th Midwest Organic Solid State
   Chemistry Symposium, Kansas State University, Manhattan, KS June, 2017.

   49. Contributed talk: Bo Wang, Ilya Frantsuzov, and Mark D. Hollingsworth, “Self-compression
   in phase transitions of a urea inclusion compound,” 27th Midwest Organic Solid State Chemistry
   Symposium, Kansas State University, Manhattan, KS June, 2017.

   48. Contributed talk: Bo Wang, Ilya Frantsuzov, and Mark D. Hollingsworth, “Crystal Structure,
   Phase Transitions, and Self-compression of a Urea Inclusion Compound,” 25th Midwest Organic
   Solid State Chemistry Symposium, West Lafayette, IN, June, 2015.

   47. Contributed talk: Ilya Frantsuzov, Bo Wang, Keith E. Alquist III, Roman B. Gajda, Kevin L.
   Pate, Angela D. Adams, Fharhod Nozirov, Bo Wang, and Mark D. Hollingsworth, “The Missing
   Phase Transition in 1,6-Dicyanohexane/Urea,” 25th Midwest Organic Solid State Chemistry
   Symposium, West Lafayette, IN, June, 2015.

   46. Contributed talk: B. Wang and M. D. Hollingsworth,”Self-compression in Urea Inclusion
   Compounds,” 24th Midwest Organic Solid State Chemistry Symposium, Iowa City, IA, June,
   2014.

   45. Poster: S. M. Nichols, Bo Wang, Chunhua Hu, Mark Hollingsworth, “Crystal Structure of a
   Six-Fold Non-Merohedrally Twinned Inclusion Compound,” Bruker-AXS/MIT Symposium
   2014, Feb. 21-23, 2014, Cambridge, MA. Shane Nichols won the poster prize for his poster at
   this meeting.

   44. Contributed talk: B. Wang, M. D. Hollingsworth, S. M. Nichols, J. Bacsa, X. Li, “Crystal
   Growth and Surface Roughening in Commensurate and Incommensurate Channel Inclusion
   Compounds,” 2013 Midwest Regional Meeting of the American Chemical Society, Springfield,
   MO, Oct. 16-18, 2013.

   43. Contributed talk: B. Wang, M. L. Peterson, and M. D. Hollingsworth, “Cooperative Guest-
   Host-Guest Recognition in Ferroelastic and Ferroelectric Calixarenes,” 23rd Midwest Organic
   Solid State Chemistry Symposium, Lexington, KY, June, 2013



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   42. Invited talk: M. L. Peterson, K. L. Pate, B. D. Dinkelmeyer, K. E. Alquist III, M. D.
   Hollingsworth, “Space Group Assignment and Evaluation of End-for-End Guest Disorder in
   Cl(CH2)6CN/Urea,” Transactions Symposium, American Crystallographic Association National
   Meeting, Boston, MA, July 2012.

   41. Poster: B. Wang, M. L. Peterson, S. M. Nichols, E. J. Chan, and M. D. Hollingsworth,
   “Cooperative Guest-Host-Guest Recognition in Ferroelastic and Ferroelectric Calixarenes,”
   American Crystallographic Association National Meeting, Boston, MA, July 2012. Bo Wang
   won the CrystEngComm Poster Prize for this poster.

   40. Contributed Talk: B. Wang, M. D. Hollingsworth, E. Kolodziejczyk, J. Bacsa, “Screw-like
   Twinning and Surface Roughening in the Growth of Channel Inclusion Compounds,” 22nd
   Midwest Organic Solid State Chemistry Symposium, Springfield, MO, June 2012.

   39. Poster: E. J. Chan, M. D. Hollingsworth, “Single Crystal X-ray Diffuse Scattering from
   Supra-molecular Assemblies,” XXII Congress and General Assembly of the International Union
   of Crystallography, Madrid, Spain, August 22-30, 2011.

   38. Contributed talk: Céline Mariette, Philippe Rabiller, Bertrand Toudic, Laurent Guérin, Mark
   Hollingsworth, “One dimensional confinement in aperiodic materials. International school and
   symposium on multifunctional molecule-based materials,” 2011, Argonne National Laboratory,
   United States.

   37. Poster: P. Rabiller, L. Guérin, C. Mariette, B. Toudic, C. Ecolivet, M. Hollingsworth, “Huge
   period versus aperiodicity in organic host guest systems,” XXII Congress and General Assembly
   of the International Union of Crystallography, Madrid, Spain, August 22-30, 2011.

   36. Contributed talk: L. Guérin, C. Mariette, B. Toudic, P. Rabiller, C. Ecolivet, M.
   Hollingsworth, “Diffuse Scattering in One Dimensional ‘Liquid-like’ Aperiodic Composites,”
   XXII Congress and General Assembly of the International Union of Crystallography, Madrid,
   Spain, August 22-30, 2011.

   35. Contributed talk: A. D. Adams, J. Abeykoon, R. Gajda, B. Wang, S. M. Nichols, M. D.
   Hollingsworth, “Correlating Optical Rotation with Absolute Configuration of Urea Inclusion
   Compounds,” 21st Midwest Organic Solid State Chemistry Symposium, Charleston, IL June
   2011.

   34. Contributed talk: Shane M. Nichols, E. J. Chan, B. Wang, M. D. Hollingsworth,
   “Synchrotron Studies of Stressed Crystals,” 21st Midwest Organic Solid State Chemistry
   Symposium, Charleston, IL June 2011.

   33. Poster: M. Huard, B. Toudic, C. Ecolivet, P. Rabiller, C. Odin, P. Bourges, M. D.
   Hollingsworth, T. Brewczewski, “Instabilités Structurales de Cristaux Moléculaires
   Apériodiques Hôte-invite,” X-Ray and Materials 2009, Paris, France, Dec. 11, 2009.

   32. Poster: M. Huard, B. Toudic, C. Ecolivet, P. Rabiller, C. Odin, P. Bourges, M. D.

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   Hollingsworth, T. Brewczewski, “Structural Instabilities in Aperiodic Host-guest Crystals,” 5th
   International Symposium on Molecular Materials: Electronics, Photonics and Spintronics, Rennes,
   France, Oct. 2009

   31. Poster: M. Huard, B. Toudic, C. Ecolivet, P. Rabiller, C. Odin, P. Bourges, M. D.
   Hollingsworth, T. Brewczewski, “Brisures de Symétrie dans un Superspace Cristallographique,”
   Contribution of Symmetries in Condensed Matter School, Giens, France, May, 2009.

   30. Poster: B. Toudic, M. Huard, C. Ecolivet, P. Rabiller, C. Odin, P. Bourges, M. D.
   Hollingsworth, T. Brewczewski, “Étude de systèmes moléculaires apériodiques,” Colloque de
   lAssociation Française de Cristallographie, Rennes, France, July 7-10, 2008.

   29. Poster: B. Toudic, P. Rabiller, C. Odin, L. Bourgeois, C. Ecolivet, P. Garcia, F. Le Gac, P.
   Bourges, F. Guillaume, T. Brewczewski, M.D. Hollingsworth, “New Crystallographic Features
   in Aperiodic Supramolecular Crystals,” XX Congress of the International Union of
   Crystallography, Florence, Italy, August 23-31, 2005.

   28. Contributed Talk: J. R. Rush, M. D. Hollingsworth and M. J. Abel, “Polar Ordering and
   Electric Field-Induced Domain Reorientation in Ferroelastic Channel Inclusion Compounds,”
   Midwest Regional ACS Meeting, Manhattan, KS Oct. 2004.

   27. Contributed Talk: J. R. Rush, M. D. Hollingsworth and M. J. Abel, “Polar Ordering and
   Electric Field-Induced Domain Reorientation in Ferroelastic Channel Inclusion Compounds,”
   American Crystallographic Association National Meeting, Chicago, IL, July 2004.

   26. Contributed Talk: J. R. Rush, M. D. Hollingsworth and M. J. Abel, “Polar Ordering and
   Electric Field-Induced Domain Reorientation in Channel Inclusion Compounds,” Fifteenth
   Midwest Organic Solid State Chemistry Symposium, Carbondale, IL June 2004.

   25. Contributed Talk: J. R. Rush, M. J. Abel, A. A. Black and M. D. Hollingsworth, “Symmetry
   Reduction and Ordering in Urea Inclusion Compounds,” Fourteenth Midwest Organic Solid
   State Chemistry Symposium, Minneapolis, MN, June 2003.

   24. Contributed Talk: Abel, M. J., Black, A. A., Hollingsworth, M. D., “Factors Affecting
   Domain Reorientation in Ferroelastic Inclusion Compounds,” Fourteenth Midwest Organic Solid
   State Chemistry Symposium, Minneapolis, MN, June 2003.

   23. Contributed Talk: Pate, K. L., Hollingsworth, M. D., Peterson, M. L., Dinkelmeyer, B. D.,
   Brown, M. E. “Nontopochemical motion during a phase transition in a ferroelastic inclusion
   compound,” Twelfth Midwest Organic Solid State Chemistry Symposium, Lincoln, NE, June
   2001.

   22. Contributed Talk: Peterson, M. L., Hollingsworth, M. D., Brown, M. E., Butenhoff, A. G.,
   “Ferroelectric 4-tert-Butylcalix[4]arene Inclusion Crystals,” Twelfth Midwest Organic Solid
   State Chemistry Symposium, Lincoln, NE, June 2001.


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   21. Contributed Talk: Dinkelmeyer, B., Hollingsworth, M. D., Brown, M. E., ‘Mechanism and
   Control of Ferroelastic Phase Transitions in Urea Inclusion Compounds Containing α,ω-
   Disubstituted Hexanes,” Eleventh Midwest Organic Solid State Chemistry Symposium, West
   Lafayette, IN, June 9-10, 2000.

   20. Contributed Talk: Peterson, M. L., Hollingsworth, M. D., Brown, M. E., Dudley, M.,
   Raghothamachar, B., Dhanaraj, G., “Tailor-made Impurity Control of Elastic Versus Plastic
   Domain Switching in Ferroelastic Inclusion Compounds,” Eleventh Midwest Organic Solid State
   Chemistry Symposium, West Lafayette, IN, June 9-10, 2000.

   19. Contributed talk: M. E. Brown, U. Werner-Zwanziger, J. D. Chaney, E. J. Still, M. D.
   Hollingsworth, “Spring-loaded Phase Transitions in Channel Inclusion Compounds of Urea,”
   Tenth Midwest Organic Solid State Chemistry Symposium, Indianapolis, IN, June 4-5, 1999.

   18. Poster: U. Werner-Zwanziger, M. E. Brown, J. D. Chaney, E. J. Still, and M. D.
                                                                                     2
   Hollingsworth, “Guest Motions in Dihalohexane/Urea Inclusion Compounds studied by H
   NMR,” 29th AMPERE - 13th International Conference on Magnetic Resonance and Related
   Phenomena, Berlin, Germany, August 2-7, 1998.

   17. Contributed lecture: M. E. Brown, J. D. Chaney, M. D. Hollingsworth, "Hydrogen-bonded
   Urea Inclusion Compounds and their Ferroelastic Phase Transitions," Ninth Midwest Organic
   Solid State Chemistry Symposium, Kansas State University, Manhattan, KS, June 12-13, 1998.

   16. Poster: U. Werner-Zwanziger, M. E. Brown, J. D. Chaney, E. J. Still, and M. D.
   Hollingsworth, “Guest Motions in Dihalohexane/Urea Inclusion Compounds studied by 2H
   NMR,” 39th Experimental Nuclear Magnetic Resonance Conference, Pacific Grove, CA March
   22-27, 1998.

   15. Poster: U. Werner-Zwanziger, M. E. Brown, J. D. Chaney, E. J. Still, and M. D.
   Hollingsworth, “2H NMR Studies of Dihalohexane/Urea Inclusion Compounds,” Gordon
   Research Conference on Magnetic Resonance, Henniker, NH, June 22-27, 1997.

   14. Poster: U. Werner-Zwanziger, M. E. Brown, J. D. Chaney, E. J. Still, and M. D.
   Hollingsworth, “2H NMR Studies of Commensurate Dihalohexane/Urea Inclusion Compounds,”
   38th Experimental Nuclear Magnetic Resonance Conference, Orlando, Florida, March 23-27,
   1997.

   13. Contributed lecture: U. Werner-Zwanziger, M. E. Brown, J. D. Chaney, E. J. Still, J. A.
   Vanecko and M. D. Hollingsworth, “Deuterium NMR Studies of Commensurate Urea Inclusion
   Compounds,” Chicago Area NMR Discussion Group, Nov. 2, 1996.

   12. Contributed lecture: M. E. Brown, J. D. Chaney, E. J. Still, E. A. Crane, J. A. Vanecko and
   M. D. Hollingsworth, “Designing Urea Inclusion Compounds,” Eighth Midwest Organic Solid
   State Chemistry Symposium, Lincoln, NE, June 1996.



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   11. Contributed lecture: U. Werner-Zwanziger, J. D. Chaney, E. J. Still, E. A. Crane, J. A.
   Vanecko and M. D. Hollingsworth, “NMR Studies of Urea Inclusion Compounds,” Eighth
   Midwest Organic Solid State Chemistry Symposium, Lincoln, NE, June 1996.

   10. Poster: H. Chung, M. Dudley, M. E. Brown and M. D. Hollingsworth, “Synchrotron White
   Beam X-ray Topography Characterization of Defect Structures in 2,10-Undecanedione/urea
   Inclusion Compounds,” Twelfth International Conference on the Chemistry of the Organic Solid
   State, Matsuyama, Japan, July 9-14, 1995 (Chung and Dudley in attendance).

   9. Contributed lecture: M. E. Brown and M. D. Hollingsworth, “Ferroelastic Inclusion
   Compounds,” Seventh Midwest Organic Solid State Chemistry Symposium, Bloomington, IN,
   June, 1995

   8. Contributed lecture: J. D. Chaney, M. D. Hollingsworth, K. Folting and C. R. Goss, “C-H---O
   Hydrogen Bonding at Work: Crystal Packing Patterns of Even-Chain bis-Formamides,” Seventh
   Midwest Organic Solid State Chemistry Symposium, Bloomington, IN, June 1995.

   7. Contributed lecture: U. Werner-Zwanziger, M. E. Brown and M. D. Hollingsworth,
   “Incommensurate Inclusion Compounds: Ideal Hosts for Studies of Functional Group
   Interactions,” Seventh Midwest Organic Solid State Chemistry Symposium, Bloomington, IN,
   June 1995.

   6. Paper: U. Werner-Zwanziger, M. E. Brown and M. D. Hollingsworth, “NMR Studies of
   Functional Group Interactions in Incommensurate Channel Inclusion Compounds,” 1994
   Chicago Area NMR Discussion Group, Nov. 12, 1994.

   5. Poster: U. Werner-Zwanziger, M. E. Brown and M. D. Hollingsworth, “Incommensurate
   Inclusion Compounds: Ideal Systems for Studies of Functional Group Interactions,” XXVII
   Congress Ampere, Kazan, Russian Federation, Aug. 21, 1994.

   4. Poster: U. Werner-Zwanziger, M. E. Brown and M. D. Hollingsworth, “Incommensurate
   Inclusion Compounds: Ideal Systems for Studies of Functional Group Interactions,” Gordon
   Research Conference of Order/Disorder in Solids, New London, New Hampshire, Aug. 7, 1994.

   3. Contributed Lecture: M. E. Brown and M. D. Hollingsworth, “The Role of Superstructures in
   the Ordering and Crystal Growth of Supramolecular Assemblies” 6th Midwest Solid State
   Organic Chemistry Symposium, Minneapolis, MN, June 11, 1994.

   2. Contributed Lecture: M. D. Hollingsworth, M. E. Brown, A. E. Aliev and K. D. M. Harris,
   “The 2-Undecanone/Urea Conundrum,” Fifth Midwest Organic Solid State Chemistry
   Conference, Purdue University, West Lafayette, IN, June 1993.

   1. Poster: Harris, K. D. M., S. P. Smart and M. D. Hollingsworth, “Interchannel Ordering of
   Guest Molecules in Urea Inclusion Compounds,” International Union of Crystallography
   Congress, Bordeaux, France, July 1990.


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   OTHER SEMINARS AND INVITED CHEMISTRY LECTURES

   2018
   Institute of Physics, University of Rennes, Rennes, France

   2015
   Chemistry Department, Whitman College

   2014
   Chemistry Department, Emory University

   2013
   Chemistry Department, Syracuse University

   2011
   Chemistry Department, Truman State University (invited by the student ACS affiliate chapter)

   2009
   Chemistry Department, Johns Hopkins University
   Physics Department, Johns Hopkins University

   2006
   Chemistry Department, University of Washington
   Groupe Matière Condensée et Matériaux, University of Rennes, Rennes, France
   Laboratoire de Physico-Chimie Moléculaire, University of Bordeaux
   Laboratoire de Chimie de Coordination Organique, Université Louis Pasteur, Strasbourg
   Laboratory for Chemical and Mineralogical Crystallography, University of Bern

   2005
   Chemistry Department, Truman State University (invited by the student ACS affiliate chapter)
   Department of Physical Chemistry, University of Cambridge
   Groupe Matière Condensée et Matériaux, University of Rennes, Rennes, France
   Laboratoire de Physico-Chimie Moléculaire, University of Bordeaux
   Chemistry Department, University of Cardiff
   TransForm Pharmaceuticals, Lexington, MA

   2003
   Chemistry Department, University of New Orleans, New Orleans, LA
   Chemistry Department, Tulane University, New Orleans, LA

   2002
   Chemistry Department, Cornell College, Mt. Vernon, IA
   Chemistry Department, Central Missouri State University, Warrensburg, MO
   Chemistry Dept., Emporia State University, Emporia, KS
   Chemistry Dept., University of Iowa, Iowa City, IA
   Chemistry Department, Kansas State University (physical chemistry colloquium)
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   Chemistry Department, Kansas State University (physical chemistry colloquium)
   Chemistry Undergrad. Journal Club, Kansas State University, "CFCs and Stratospheric Ozone Depletion"

   2001
   Chemistry Department, Lamar University, Beaumont, Texas
   TransForm Pharmaceuticals, Lexington, MA
   Chemistry Department, College of William and Mary, Williamsburg, VA
   Chemistry Department, Grinnell College, Grinnell, IA
   Chemistry Department, Drake University, Des Moines, IA
   Chemistry Department, Trinity University, San Antonio, Texas
   Groupe Matière Condensée et Matériaux, University of Rennes, Rennes, France
   Chemistry Department, University of Nebraska at Lincoln
   Chemistry Department, Georgetown University, Washington, D. C.
   Chemistry Department, Kansas State University (physical chemistry colloquium)

   2000
   Chemistry Department, Northern Arizona University
   Chemistry Department, University of Missouri at Columbia

   1998
   Chemistry Department, University of Nebraska
   Chemistry Department, Wesleyan University
   Chemistry Department, Washington State University, Pullman, WA
   Chemistry Department, Kansas State University

   1997
   Chemistry Department, University of Massachusetts at Amherst
   Chemistry Department, Carnegie Mellon University
   Chemistry Department, University of Utah
   Chemistry Department, University of Colorado at Boulder
   Chemistry Department, Pennsylvania State University
   Chemistry Department, University of Wisconsin at Madison
   Chemistry Department, Ohio State University
   Chemistry Department, University of Minnesota

   1996
   Chemistry Department, University of Illinois at Urbana-Champaign

   1995
   Chemistry Department, Yale University, New Haven, CT
   Chemistry Department, SUNY Stony Brook, Stony Brook, NY

   1994
   Chemistry Department, DePauw University, Greencastle, IN (recruiting talk)
   Chemistry Department, Indiana University, Solid State Chemistry Seminar
   Chemistry Department, Indiana University, Solid State Chemistry Seminar

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   1993
   Chemistry Department, Carleton College, Northfield, Minn.
   Chemistry Department, Indiana University, Solid-State Chemistry

   1992
   Chemistry Department, Indiana State University, Terre Haute, IN
   Chemistry Department, Indiana University-Purdue University at Indianapolis
   Chemistry Department, Purdue University, Materials Chemistry Series
   Chemistry Department, Indiana University, Solid-State Chemistry

   1991
   Chemistry Department, Indiana University
   Chemistry Department, University of Illinois
   Chemistry Department, University of British Columbia

   1990
   Chemistry Department, University of Colorado at Boulder
   Chemistry Department, Colorado State University
   Chemistry Department, University of St. Andrews
   Chemistry Department, Princeton University

   1988
   Chemistry Department, University of Alberta

   1987
   Chemistry Department, University of Calif. at Berkeley
   Chemistry Department, University of Chicago
   Chemistry Department, University of Calif. at Irvine
   Chemistry Department, University of Calif. at Santa Barbara
   Chemistry Department, University of Oregon
   Chemistry Department, Yale University
   Chemistry Department, University of Wisconsin
   Chemistry Department, University of Alberta

   1986
   Chemistry Department, Brown University
   Department of Physical Chemistry, University of Cambridge (two)
   CICE Institute, Barcelona, Spain
   The Royal Institution of Great Britain
   GRANTS AND AWARDS FOR RESEARCH

   Investigator, dates        Agency, Type, Grant Title                         Amount

   M. Hollingsworth           Advanced Photon Source, Argonne National          0.7 days of
   December 2019              Laboratory, “Phase Transitions and Superspace     beam time
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                         Issues in Perfectly Oriented Crystals”
                         (GUP-68774)

   M. Hollingsworth      Advanced Photon Source, Argonne National         0.7 days of
   November 2019         Laboratory, “Crystallography of challenging      beam time
                         Host-guest systems” (GUP-66467)

   M. Hollingsworth      Advanced Photon Source, Argonne National         2 days of
   November 2019         Laboratory, “Phase Transitions and Superspace    beam time
                         Issues in Organic Inclusion Compounds,”
                         (GUP-67310)

   M. Hollingsworth      Advanced Photon Source, Argonne National     1 day of
   September 2019        Laboratory, “Phase Transitions and Self-     beam time
                         compression in Channel Inclusion Compounds,”
                         (GUP-66962)

   M. Hollingsworth      Stanford Synchrotron Radiation Laboratory,       recommended -
   January 2019          “Synchrotron studies of phase transitions and    amount of beam
                         structures of organic inclusion compounds,”      time to be
                         (SSRL-5323)                                      specified

   M. Hollingsworth      Advanced Photon Source, Argonne National         2 days of
   August 2016           Laboratory, “Phase Transitions and ‘self-        beam time
                         Compression’ in aperiodic inclusion compounds”   (+ 3 days
                         (GUP-42000) (12 days for life of proposal)       discretionary
                                                                          time)

   M. Hollingsworth      Advanced Light Source, Lawrence Berkeley         1.7 days of
   July 2015             Laboratories, Structural Biology Rapid Access    beam time
                         “Lock-in/Self-compression versus
                         Incommensurate Modulation in Channel
                         Inclusion Compounds.” (SB-00439)

   M. Hollingsworth      Advanced Photon Source, Argonne National       4 days of
   March 2015            Laboratory, “Phase Transitions and ‘self-      beam time
                         Compression’ in aperiodic inclusion compounds” granted

   M. Hollingsworth      Advanced Light Source, Lawrence Berkeley         1 day of
   March 2015            Laboratories, Structural Biology Rapid           beam time
                         Access “Lock-in phase transitions of
                         channel inclusion compounds” (SB-00352)

   M. Hollingsworth      Advanced Light Source, Lawrence Berkeley         16 hours of
   Jan. 2015             Laboratories, Structural Biology Rapid           beam time
                         Access “X-ray Studies of Self-compression

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                         in Channel Inclusion Compounds”

   M. Hollingsworth      Advanced Light Source, Lawrence Berkeley        2.3 days of
   Jan. 2015             Laboratories, “Domain switching, phase          beam time
                         transitions, and crystal growth in channel
                         inclusion compounds” (ALS-06228)

   M. Hollingsworth      Advanced Light Source, Lawrence Berkeley        1 day of
   Dec. 2014             Laboratories, “X-ray Studies of Self-           beam time
                         compression in Channel Inclusion Compounds”
                         Structural Biology Rapid Access (SB-00302)

   M. Hollingsworth      Advanced Light Source, Lawrence Berkeley        1.3 days of
   Nov. 2014             Laboratories, Structural Biology Rapid Access   beam time

   M. Hollingsworth      Advanced Light Source, Lawrence Berkeley        2 days of
   Nov. 2014             Laboratories, “Domain switching, phase          beam time
                         transitions, and crystal growth in channel
                         inclusion compounds” (ALS-06228)

   M. Hollingsworth      Advanced Photon Source, Argonne National        3 days of
   June 2014             Laboratory, “Phase Transitions, Domain          beam time
                         Switching, and Crystal Growth in Periodic
                         and Aperiodic Inclusion Compounds”
                         (GUP-33163)

   M. Hollingsworth      Laboratoire Léon Brillouin, “High-pressure      one week of
   April 2014            neutron diffraction of a self-compressing       beam time
                         inclusion compound” (LLB-12036)

   M. Hollingsworth      Diamond Light Source, Oxford, U.K.,             1 day of
   March 2014            “High-resolution Studies of Organic Inclusion   beam time
                         Compounds” Rapid-access proposal (MX5019)

   M. Hollingsworth      Advanced Photon Source, Argonne National        3 days of
   October 2013          Laboratory, “Phase Transitions, Domain          beam time
                         Switching, and Crystal Growth in Periodic
                         and Aperiodic Inclusion Compounds”
                         (GUP-33163)

   M. Hollingsworth      Advanced Light Source, Lawrence Berkeley        2 days of
   October 2013          Laboratories, “Self-compression” in Channel     beam time
                         Inclusion Compounds” Rapid-access proposal
                         (SB-00145)

   M. Hollingsworth      Advanced Photon Source, Argonne National        3 days of

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   July 2013               Laboratory, “Phase Transitions, Domain          beam time
                           Switching, and Crystal Growth in Periodic
                           and Aperiodic Inclusion Compounds”
                           (GUP-33163)

   M. Hollingsworth        Advanced Photon Source, Argonne National        3 days of
   March 2013              Laboratory, “Phase Transitions, Domain          beam time
                           Switching, and Crystal Growth in Periodic       (12 days for
                           and Aperiodic Inclusion Compounds”              life of proposal)
                           (GUP-33163)

   M. Hollingsworth        Advanced Photon Source, Argonne National        1 day of
   Jan. 2012 - Dec. 2013   Laboratory, “Phase Transitions and Crystal      beam time
                           Growth in Periodic and Aperiodic Inclusion
                           Compounds” (GUP-28180)

   M. Hollingsworth        Advanced Photon Source, Argonne National        10 days of
   June 2012               Laboratory, “Phase Transitions, Domain          beam time
                           Switching, and Crystal Growth in Periodic
                           and Aperiodic Inclusion Compounds”
                           (GUP-30451)

   M. Hollingsworth        Advanced Photon Source, Argonne National        3 days of
   March 2012              Laboratory, “High-resolution X-ray Studies      of beam time
   (rapid access)          of Superstructures and Superspaces in Channel
                           Inclusion Compounds” (GUP-29673)

   M. Hollingsworth        Stanford Synchrotron Radiation Laboratory,      recommended -
   Nov. 2011 - May, 2013   “Mechanistic studies of phase transitions and   amount of beam
                           crystal growth in periodic and aperiodic        time to be
                           composite crystals” (SSRL-3688)                 specified

   M. Hollingsworth        Advanced Light Source, Lawrence Berkeley        1.7 days of
   Jan. 2011 – July 2012   Laboratories, “Interfacial control of memory    beam time
                           effects in ferroelastic inclusion compounds”
                           (ALS-04767)

   M. Hollingsworth        Advanced Photon Source, Argonne National        3 days of
   Jan. 2011 - July 2012   Laboratory, “Single Crystal Diffraction         beam time
                           of Ferroelastic and Ferroelectric Inclusion
                           Compounds” (GUP-22632)

   M. Hollingsworth        Advanced Photon Source, Argonne National        3 days of
   Oct. 2010 - Apr. 2012   Laboratory, “Single Crystal Diffraction         beam time
                           of Ferroelastic and Ferroelectric Inclusion
                           Compounds” (GUP-21666)

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   M. Hollingsworth          Oak Ridge National Laboratory, “Absolute          4 days of
   Jan. - June, 2011         Configuration of Urea Inclusion Compounds         beam time
                             from Neutron Diffraction of Stereospecifically
                             Deuterated Crystals” (IPTS-3784)

   M. Hollingsworth          Stanford Synchrotron Radiation Laboratory,    2 days of
   Jan. - June, 2011         “Interfacial Control of Memory Effects in     beam time
                             Ferroelastic Inclusion Compounds” (SSRL-3354)

   M. Hollingsworth          Advanced Light Source, Lawrence Berkeley       4 days of
   Jan. - June, 2011         Laboratories, “Single Crystal Diffraction of a beam time
                             Ferroelectric Calixarene Complex” (ALS-04106)

   M. Hollingsworth          Advanced Light Source, Lawrence Berkeley          2.5 days of
   Jan. - June, 2011         Laboratories, “Single Crystal X-ray Diffraction   beam time
                             of an Incommensurately Modulated Phase in an
                             Aperiodic Inclusion Compound” (ALS-04103)

   B. Toudic, P. Rabiller,   SOLEIL Synchrotron, CRYSTAL Beamline,             2 days of
   M. D. Hollingsworth       “Superspace Symmetry Breaking in Crystals         beam time
   October 2008              of Tetradecane/urea”

   M. D. Hollingsworth       National Science Foundation (Division of          $390,000
   7-1-2008 to 6-30-2011     Chemistry), “Synthesis and Mechanistic            + $78,000
                             Studies of New Series of Ferroelastic and         equip. + travel
                             Ferroelectric Crystals”                           supplements

   M. D. Hollingsworth       American Chemical Society (PRF, Type AC           $80,000
   1-1-2006 to 8-31-2008     “Crystal Growth, Polar Ordering and Domain
                             Switching in Ferroelastoelectric Inclusion
                             Compounds”

   M.D. Hollingsworth        National Aeronautics and Space Administration $310,000
   4-1-00 to 11-30-04        (Microgravity Materials Science Initiative -
                             Research and Flight Experiment Opportunities),
                             “Crystal Growth of New Families of Ferroelastic
                             Materials”

   M. D. Hollingsworth       Department of Energy (Intense Pulsed Neutron      ~10 days
   Jan.-June, 2003           Source, Argonne National Laboratories),           of beam time
                             “Neutron Diffraction of Formyl C-H---O
                             Interactions”

   M. D. Hollingsworth       Department of Energy (Intense Pulsed Neutron      ~10 days
   Jan.-June, 2000           Source, Argonne National Laboratories),           of beam time

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                              “Neutron Diffraction of Ferroelectric and
                              Ferroelastic Calixarene Crystals”

   F. Guillaume               Berlin Experimental Neutron Scattering            7 days
   M. D. Hollingsworth        Center, "Molecular Dynamics in the                of beam time
   B. Toudic, C. Odin         Incommensurate 2-Decanone/urea crystal"
   June, 2002

   F. Guillaume               Berlin Experimental Neutron Scattering            6 days
   M. D. Hollingsworth        Center, “Molecular Dynamics in the                of beam time
   B. Toudic, C. Odin         Incommensurate 2-Decanone/urea crystal”
   August 13-18, 2001

   M. D. Hollingsworth,       National Science Foundation, Division of          $100,000
   M. M. Collinson, D. A.     Materials Research, “Acquisition of a Scanning
   Higgins, K. J. Klabunde,   Probe Microscope for Materials Research and
   P. M. A. Sherwood          Education,”
   8-1-00 to 7-31-01

   M. D. Hollingsworth        National Science Foundation (Division of          $243,500
   4-1-97 to 3-31-01          Materials Research), “Cooperative Phenomena
                              and Domain Switching Processes in Organic
                              Inclusion Compounds”

   M. D. Hollingsworth        National Science Foundation (Division of          $300,000
   6-1-95 to 5-31-00          Materials Research), “Energetic and Structural
                              Studies of Functional Group Pairs for Materials
                              Research”

   M. D. Hollingsworth        Research Corporation, “Stereomicroscope for       $15,000
   4-23-96 to 4-22-97         Studies of Organic Crystals and Inclusion         (+$7,500
                              Compounds”                                        match from IU)

   M. D. Hollingsworth        American Chemical Society (Petroleum Research $50,000
   7-1-95 to 8-31-97          Fund, Type AC), “Crystal Engineering and
                              Ordering in One, Two and Three Dimensions”

   M. D. Hollingsworth        National Science Foundation (Chemistry            $37,450
   7-1-95 to 5-31-96          Division), “Equipment Supplement for              (+$26,000
                              CHE-9423726: Solid State NMR Console”             match from IU)

   M. D. Hollingsworth        Cambridge Isotope Laboratories, “13C Labeled      $3,000 in
   1993-1995                  Compounds for Spectroscopic Studies of            labeled
                              Functional Group Interactions”                    compounds

   M. D. Hollingsworth        Indiana University, Summer Faculty Fellowship $4,500

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   Summer, 1992               “Structural Studies of Functional Group Pairs
                              in Channel Inclusion Compounds”

   M. D. Hollingsworth        Alfred P. Sloan Foundation - Sloan Research     $30,000
   9-15-91 to 9-14-93         Fellowship

   M. D. Hollingsworth        Petroleum Research Fund (Type AC) “A Scale       $40,000
   9-1-91 to 8-31-93          of Functional Group Interaction Energies”

   M. D. Hollingsworth        NSERC, Operating, “Functional Group Inter-      CAN$24,000
   1991-1993                  actions in Organic Crystals and Inclusion
   (terminated 9-91)          Compounds”

   M. D. Hollingsworth        NSERC, Operating, “Inclusion Phenomena,         CAN $46,980
   1989-1991                  Molecular Recognition and Intermolecular
                              Forces”

   M. D. Hollingsworth        Univ. of Alberta, Central Research Fund         CAN $1,600
   1990                       Operating, “Solid-state NMR Studies in
                              Colorado and Scotland”

   M. D. Hollingsworth        Univ. of Alberta, Central Research Fund,        CAN $2,000
   1989                       Operating, “Solid-state NMR Studies”

   M. D. Hollingsworth        Univ. of Alberta, Central Research Fund,        CAN $4,000
   1988                       Operating, “Spectroscopic and Mechanistic
                              Studies of Reactions in Organic Solids”

   M. D. Hollingsworth        NSF-NATO Postdoctoral Fellowship for            $23,600
   1986-1987                  research at the University of Cambridge
   GRANTS IN SUPPORT OF CONFERENCES

   M. D. Hollingsworth and    Petroleum Research Fund (Type SE), “Tenth         $2,000
   J. R. Scheffer             International Conference on the Chemistry of
   April, 1991                the Organic Solid State”

   M. D. Hollingsworth and    NSERC, Canada (Conference Grant) “Tenth          CAN$2,000
   J. R. Scheffer             International Conference on the Chemistry of
   April, 1991                the Organic Solid State”

   In 1991, I raised money from the following companies for the Tenth International Conference on
   the Chemistry of the Organic Solid State: Bruker Spectrospin Canada: Can$500, Chemagnetics,
   Inc.: $250, Doty Scientific, Inc.: $500, GTE Laboratories: $1000. In 1995, I raised $500 from
   Eli Lilly, Inc. for the Seventh Midwest Organic Solid State Chemistry Symposium. In 2008, I
   raised $500 from TransForm Pharmaceuticals and $500 from Ipharma for the 19th Midwest
   Organic Solid State Chemistry Symposium. In 2017, I raised $250 from Crystal Growth and
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   Design and $250 from Bruker Spectrospin, Inc, for the 27th Midwest Organic Solid State
   Chemistry Symposium.

   OTHER EXPERIENCE:

   GOLDWATER SCHOLARSHIP NOMINATING COMMITTEE:               At Kansas State University, I joined the
       Goldwater Scholarship nominating and advisory committee in 2017.
   CO-CHAIR: Twenty-seventh Midwest Organic Solid State Chemistry Symposium, Manhattan, KS,
       June 9-10, 2017.
   CO-CHAIR (with Bart Kahr): Symposium on "Fundamentals of Crystal Growth," at the 18th
       American Conference on Crystal Growth and Epitaxy, July 31 – Aug. 5, 2011, Monterey,
       CA.
   GROW WORKSHOPS FOR MIDDLE SCHOOL GIRLS: In the summers of 2005, 2007, 2008, 2010, and
       2011, I have conducted GROW (Girls Researching Our World) workshops ("This View of
       Crystals") on growth of ferroelastic crystals, ferroelastic domain switching of urea inclusion
       compounds and crystal optics. This very successful workshop was part of a larger effort of
       the Women in Engineering and Science Program (WESP) at KSU to attract 11-13 year old
       girls to careers in science.
   CO-CHAIR: Nineteenth Midwest Organic Solid State Chemistry Symposium, Manhattan, KS,
       June 13-14, 2008.
   GUEST PROFESSOR: In the summer of 2005, I was a guest lecturer at a "Summer School" on
       "Stereochemical Aspects of Novel Materials," for U.S. and Latin American scholars at the
       Santa Barbara International Center for Materials Research. The course was held on the
       UCSB campus and was attended by students from UCSB, UCLA and Latin America.
   GUEST EDITOR (with Profs. Bart Kahr and Jennifer Swift) of a special issue of Crystal Growth
       and Design in honor of the 65th year of Prof. J. Michael McBride. This issue appeared in
       Nov. 2005.
   VISITING PROFESSORSHIPS: During the summers of 2000 and 2001, 2006, 2007, 2009, 2010,
       2012, 2014, the fall of 2008, and in the spring and summer of 2005, I have been a Visiting
       Professor in the Condensed Matter and Materials Group in the Department of Physics at the
       University of Rennes in Rennes, France. I have also been a Visiting Professor in the
       Department of Chemistry at the University of Bordeaux in July of 2006. In 2018, I have
       been a CNRS Visiting Professor at the University of Rennes.
   MEMBER – PARTICIPATING RESEARCH TEAM: I have been a member of the Participating Research
       Team (PRT) at the Stony Brook Topography Facility, Beamline X-19C at the National
       Synchrotron Light Source at Brookhaven National Laboratory since 2000.
   CHAIR – COLLEGE ENVIRONMENTAL HEALTH AND SAFETY COMMITTEE: In 2004, I chaired a
       committee of six faculty members that initiated and oversaw a waste audit that was mandated
       by the EPA as part of a consent agreement to reduce a substantial fine from KSU for
       violations of the Resource Conservation and Recovery Act. This very successful audit
       covered almost every room in the College of Arts and Sciences.
   RHODES/MARSHALL SELECTION COMMITTEE: At Kansas State University, I have been serving on
       the Rhodes/Marshall Scholar selection and advisory committee (2002-present).
   INFORMATION RESOURCE MANAGEMENT COUNCIL, KANSAS STATE UNIVERSITY: This
       committee advises the Provost on policies regarding all aspects of technology in
       dissemination, storage and retrieval of information at the university (2005 to 2008).


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   WOMEN IN ENGINEERING AND SCIENCE ADVISORY COMMITTEE:                   I served on the search
      committee for the Director of the Women in Engineering and Science Program at Kansas
      State University and subsequently on the advisory committee for that office (1999-2003).
   GEOLOGY AND PHYSICS FACULTY SEARCH COMMITTEE: In addition to serving on numerous
      search committees in chemistry, I have been the outside member of a search committee for a
      mineralogist/petrologist in the Geology Dept. and a nanobiophysicist in the Physics Dept.
   EXPERT CONSULTANT: Since 1997, I have been retained as an expert consultant and expert
      witness for pharmaceutical companies on several patent cases involving polymorphism and
      pseudomorphism of crystalline pharmaceuticals and the reactions used to make them.
      During this time, I have appeared at trial three times. I have also served as an expert
      consultant for TransForm Pharmaceuticals.
   CO-CHAIR: Seventh Midwest Organic Solid State Chemistry Symposium, Bloomington, IN, June
      9-10, 1995.
   SPECIAL ISSUE OF CHEMISTRY OF MATERIALS: With Michael D. Ward (University of
      Minnesota), I instigated and coordinated a special issue of Chemistry of Materials in honor of
      the late Margaret C. (Peggy) Etter. Prof. Ward and I selected authors for review articles,
      refereed a large number of the papers, wrote the introductory material for the issue and
      sequenced the articles, reviews and communications. This was an extremely successful issue
      that received wide attention.
   GUEST EDITOR (with John Scheffer) of a two-volume (~650 page) issue of Molecular Crystals
      and Liquid Crystals: The Proceedings of the Tenth International Conference on the
      Chemistry of the Organic Solid State
   FACULTY SALARIES AND PROMOTIONS COMMITTEE (FACULTY OF SCIENCE, UNIVERSITY OF
      ALBERTA) 1989-91. Evaluated approximately 300 faculty dossiers each year for salaries and
      promotion.
   CO-CHAIR: Tenth  International Conference on the Chemistry of the Organic Solid State (ICCOSS
      X), Vancouver, B. C., July 1991.
   INTERNATIONAL SCIENTIFIC COMMITTEE: International Conference on the Chemistry of the
      Organic Solid State: (ICCOSS IX), Como, Italy, July, 1989; (ICCOSS X), Vancouver,
      British Columbia, July, 1991; (ICCOSS XI), Jerusalem, Israel, July, 1993; (ICCOSS XII)
      Matsuyama, Japan, July 1995; (ICCOSS XIII) Stony Brook, New York, July, 1997;
      (ICCOSS XIV) Cambridge, U.K, July 1999; (ICCOSS XV) Mainz, Germany, July, 2001;
      (ICCOSS XVI) Sydney, Australia, July, 2003; (ICCOSS XVII) Los Angeles, CA, July 2005;
      (ICCOSS XVIII) Merida, Venezuela, July 2007; (ICCISS XIX) Sestri Levante, Italy, June
      2009; (ICCOSS XX), Bangalore, India, June, 2011, (ICCOSS XXI), Oxford, August, 2013,
      (ICCOSS XXII), Niigata, Japan, July, 2015, (ICCOSS XXIII), Stellenboch, South Africa,
      2017, New York, NY, 2019 ((ICCOSS XXIII).
   REFEREEING - I have done extensive refereeing for scientific journals (including Science, Nature,
      Nature Chemistry, Journal of the American Chemical Society, Angewandte Chemie,
      Chemical Communications, Chemistry of Materials, Journal of Pharmaceutical Sciences,
      Journal of Inclusion Phenomena and Macrocyclic Chemistry, Organometallics, Tetrahedron
      Letters, Inorganic Chemistry, Journal of Materials Chemistry, Chemical Reviews,
      Proceedings of the Royal Society, Section A (Math and Phys. Sci.), Journal of Physical
      Chemistry, Journal of Organic Chemistry, Acta Crystallographica, Tetrahedron, Journal of
      Physical Organic Chemistry, Macromolecules, Molecular Crystals and Liquid Crystals,
      Crystal Growth and Design, CrystEngComm, Organic Letters, Advanced Functional

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      Materials, Journal of Computational Chemistry, Journal of Solid State Chemistry, Molecular
      Pharmaceutics, Journal of Molecular Structure, Journal of Chemical Theory and
      Computation, New Journal of Chemistry, Langmuir) and for granting agencies (including the
      National Science Foundation, Petroleum Research Fund, United States-Israel Binational
      Science Foundation, Department of Energy, Alzheimer's Association, the Research
      Corporation, Unversity of Padova Young Scholars Program, Swiss National Science
      Foundation, Intense Pulsed Neutron Source (Argonne National Laboratory), ). As part of the
      latter, I have been a panelist for the Major Research Instrumentation program at the National
      Science Foundation. (This was under the Chemistry Research Instrumentation and Facilities
      program and focused on high field NMR proposals.)
   TEACHING: At the University of Alberta, I taught introductory organic chemistry to freshmen and
      a graduate course in organic structural analysis. At Indiana University, I taught a
      graduate/undergraduate course in spectroscopic methods of structure determination, a
      graduate course in physical organic chemistry, introductory organic chemistry, first semester
      organic laboratory, second semester organic laboratory, and honors organic chemistry I and
      II. At Kansas State University, I have taught a freshman tutorial program, Physical Methods
      in Inorganic Chemistry, Organic Chemistry I and II, Organic Chemistry Laboratory, General
      Organic Chemistry, Advanced Organic Chemistry Laboratory, Advanced Organic Chemistry,
      Physical Organic Chemistry, Organic Spectroscopy, six lectures on tensorial properties of
      crystals for a team-taught course on Materials Chemistry and the departmental Ethics
      Seminar for incoming graduate students.
   CHEMICAL WEAPONS RISK ASSESSMENT: Because of my calculations and assessment of the
      public health risk of open-air testing of nerve gases at Defence Research Establishment
      Suffield in 1988, the Canadian government suspended further outdoor testing of these agents.
   THE NERVE CENTER: As a graduate student, I helped set up a disarmament organization that
      focused on disseminating information about chemical and biological weapons. When I
      moved to England as a postdoctoral student, I continued this work with The Working Party
      on Chemical and Biological Weapons, a London based defense information/disarmament
      group.
   YALE RECYCLING: Played a major role in the initiation and development of a very successful
      university-wide recycling program, with over 100 sites in 60 buildings. Negotiated with
      administration officials at most levels for university support of this recycling program.
   CARLETON RECYCLING: Initiated and coordinated a campus-wide recycling program.
   NATURALIST: Served as a naturalist for the Carleton Arboretum and for the Branford Land Trust.
      On three occasions, I helped my ex-wife lead tourist groups on one-week trips to the
      Peruvian Amazon. Between 1998 and 2003, I also served as a staff member on three of her
      Earthwatch Expeditions, which focused on bird conservation in a remote cloud forest in
      Southwestern Ecuador.
   HOBBIES AND INTERESTS: bird watching and vocalizations, photography, bicycling, natural
      history, and conservation.




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